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                                                                         2                       IN THE UNITED STATES DISTRICT COURT
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                                                                                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         6                                                    No. C 04-0574 CW
                                                                              JOHN TENNISON,                                  Consolidated with
                                                                         7                                                    No. C 04-1643 CW
                                                                                        Plaintiff,
                                                                         8                                                    ORDER GRANTING IN
                                                                                 v.                                           PART DEFENDANTS’
                                                                         9                                                    MOTIONS FOR
                                                                              CITY AND COUNTY OF SAN FRANCISCO; SAN           SUMMARY JUDGMENT
                                                                         10   FRANCISCO POLICE DEPARTMENT; PRENTICE           AND PLAINTIFFS’
                                                                              EARL SANDERS; NAPOLEON HENDRIX; and             MOTION TO STRIKE
                                                                         11   GEORGE BUTTERWORTH,                             AND DENYING
United States District Court




                                                                                                                              PLAINTIFFS’
                               For the Northern District of California




                                                                         12             Defendants.                           MOTIONS FOR
                                                                              _____________________________________           SUMMARY
                                                                         13                                                   ADJUDICATION
                                                                              ANTOINE GOFF,
                                                                         14
                                                                                        Plaintiff,
                                                                         15
                                                                                   v.
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                                                                              CITY AND COUNTY OF SAN FRANCISCO; SAN
                                                                         17   FRANCISCO POLICE DEPARTMENT; PRENTICE
                                                                              EARL SANDERS; NAPOLEON HENDRIX; and
                                                                         18   GEORGE BUTTERWORTH,
                                                                         19             Defendants.
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                                                                                   This is a civil rights action arising from the investigation,
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                                                                              arrest and prosecution of Plaintiffs John Tennison and Antoine Goff
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                                                                              by Defendants Prentice Earl Sanders, Napoleon Hendrix (together,
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                                                                              the Inspectors) and George Butterworth.    Plaintiffs have filed
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                                                                              motions for partial summary adjudication of their Brady claims
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                                                                              against the Inspectors; the Inspectors oppose and cross-move for
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                                                                         1    summary judgment on all of Plaintiffs’ claims.   Butterworth moves
                                                                         2    separately for summary judgment.   The Inspectors move under Civil
                                                                         3    Local Rule 56-2(a) to submit a statement of disputed facts.
                                                                         4    Tennison moves to strike certain portions of the Inspectors’
                                                                         5    declarations.    Goff joins in the motion to strike.   The Inspectors
                                                                         6    have not filed an opposition to the motion to strike.    The matters
                                                                         7    were heard on August 12, 2005.   Having considered the papers filed
                                                                         8    by the parties and oral argument on the motions, the Court GRANTS
                                                                         9    in part Butterworth’s motion for summary judgment, the Inspectors’
                                                                         10   motion for summary judgment and Plaintiffs’ motion to strike, and
                                                                         11   DENIES Plaintiffs’ motions for summary adjudication and the
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                                                                         12   Inspectors’ request to submit a statement of disputed and
                                                                         13   undisputed facts.
                                                                         14                            PROCEDURAL BACKGROUND
                                                                         15        On October 3, 1990, Plaintiffs, whose cases had been
                                                                         16   consolidated for trial, were convicted by a jury of first degree
                                                                         17   murder and conspiracy to commit murder in the shooting death of
                                                                         18   Roderick Shannon.    Wong Dec., Ex. V. In the Matter of the Claim for
                                                                         19   Compensation by Antoine Maurice Goff and John J. Tennison, November
                                                                         20   4, 2004 decision of the California Victim Compensation and
                                                                         21   Government Claims Board (Matter of Goff and Tennison).     Each
                                                                         22   Plaintiff individually filed a motion for a new trial, both of
                                                                         23   which were denied.   Each Plaintiff individually filed a direct
                                                                         24   appeal and then a petition for a writ of habeas corpus.    The State
                                                                         25   courts denied the direct appeals and the habeas petitions.    Each
                                                                         26   Plaintiff individually filed a petition for writ of habeas corpus
                                                                         27   in this Court.   On August 26, 2003, this Court issued an Order
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                                                                         1    Granting Tennison’s Petition for Writ of Habeas Corpus based upon
                                                                         2    the suppression of material exculpatory evidence.       Purcell Dec.,
                                                                         3    Ex. 52, August 26, 2003 Habeas Order.        Although the Court had not
                                                                         4    ruled on Goff’s petition, both Plaintiffs were released from
                                                                         5    custody.      The San Francisco district attorney decided not to retry
                                                                         6    them.       Purcell Dec., Exs. 53, 54; Goff Dec. ¶ 7; Exhibits B and C
                                                                         7    submitted with Tennison's Complaint, October 27, 2003 State Court
                                                                         8    Order declaring Tennison factually innocent of the murder of
                                                                         9    Roderick Shannon.      In 2004, Plaintiffs brought claims pursuant to
                                                                         10   California Penal Code § 49001 against the State of California
                                                                         11   seeking compensation for alleged wrongful incarceration.       Wong
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                                                                         12   Dec., Ex. V, Matter of Goff and Tennison.        The Administrative Law
                                                                         13   Judge of the Victims’ Compensation Board ruled that Plaintiffs had
                                                                         14   failed to establish by a preponderance of the evidence that they
                                                                         15   were entitled to compensation and their claims were denied.       Id. at
                                                                         16   10.   Tennison has appealed this decision to the California superior
                                                                         17   court.      Balogh Dec. at ¶ 42.   Tennison’s attorney anticipates that
                                                                         18   the losing party will appeal the superior court’s decision to the
                                                                         19   California court of appeal.        Id.
                                                                         20                                        FACTS
                                                                         21   I. Pre-Trial Events -- Masina Fauolo and Pauline Maluina
                                                                         22           On August 19, 1989, Shannon was shot and killed in San
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                                                                                    California Penal Code § 4900 et seq. provides the statutory
                                                                         24   basis for the filing of a claim for injury sustained as a result of
                                                                              an erroneous conviction and incarceration. The claimant must prove
                                                                         25   by a preponderance of the evidence that the “crime was not
                                                                              committed by him, the fact that he did not, by any act or omission
                                                                         26   on his part, either intentionally or negligently, contribute to the
                                                                              bringing about of his arrest or conviction for the crime with which
                                                                         27   he was charged. . .” Cal. Penal Code § 4903.
                                                                         28                                            3
                                                                         1    Francisco.   San Francisco Homicide Inspectors Sanders and Hendrix
                                                                         2    had been assigned to focus on gang-related murders and worked with
                                                                         3    the Gang Task Force (GTF) with respect to any gang-related
                                                                         4    homicide.    The GTF was a group of officers in the San Francisco
                                                                         5    police department charged with stopping gang activity generally.
                                                                         6    Sanders and Hendrix headed the Shannon homicide investigation
                                                                         7    assisted by GTF members Michael Lewis, Neville Gittens and Leroy
                                                                         8    Lindo.
                                                                         9         The evidence indicated that there had been a high-speed car
                                                                         10   chase that had ended with Shannon taking the evasive action of
                                                                         11   driving his car in reverse and then crashing his car backwards into
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                                                                         12   a park fence along Visitacion Avenue.      One of the chasing vehicles
                                                                         13   was a pick-up truck that had gone into reverse to chase Shannon’s
                                                                         14   car as it was driving in reverse.       Residents in the neighborhood of
                                                                         15   the shooting identified several cars involved in the chase, but
                                                                         16   could not identify any of the people involved.      The morning after
                                                                         17   the crash, SFPD Inspector Frank Falzon interviewed the owner of the
                                                                         18   car Shannon had been driving during the chase: his cousin, Patrick
                                                                         19   Barnett.    Balogh Reply Dec., Ex. 91, August 19, 1989 Barnett
                                                                         20   Interview at 1.   Falzon told Barnett that two cars and a large-
                                                                         21   sized pick-up truck were involved in the chase and asked him to
                                                                         22   find a witness to the murder.   Id. at 15-16.
                                                                         23        On August 22, 1989, Masina Fauolo, an eleven-year old Samoan
                                                                         24   girl who lived in the Sunnydale section of San Francisco, called
                                                                         25   Hendrix and told him she had witnessed Shannon’s killing.      She
                                                                         26   later described Shannon and herself as buddies, like brother and
                                                                         27   sister.    Over the next two months, Hendrix spoke to Masina every
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                                                                         1    day.
                                                                         2           On October 4, 1989, Hendrix and Sanders submitted the
                                                                         3    following memorandum to their supervisor, Lieutenant Gerald J.
                                                                         4    McCarthy:    “In order to encourage witnesses to come forward [in the
                                                                         5    Shannon homicide case], we request a reward of $2,500 from the
                                                                         6    Secret Witness Program.     We feel this reward will generate
                                                                         7    information that will lead to the arrest and conviction of the
                                                                         8    perpetrator(s) of the homicide.”     Purcell Dec., Ex. 22, October 4,
                                                                         9    1989 Memo.    The Secret Witness Program (SWP) was a community-based
                                                                         10   reward fund that was administered by the San Francisco Chamber of
                                                                         11   Commerce (COC) in the 1980s to encourage individuals to provide
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                                                                         12   confidentially information that would assist the police in solving
                                                                         13   crimes in San Francisco.     Tabak Dec. at ¶ 4.   Individuals could
                                                                         14   call the COC’s hotline to provide such information.        Id.   Also, at
                                                                         15   the request of the SFPD, the COC would post rewards for information
                                                                         16   leading to the arrest, prosecution and conviction of criminal
                                                                         17   suspects.    Id.    Any reward payment would be made directly by the
                                                                         18   COC to the individual who provided the information, not to police
                                                                         19   officers.    Id.    The SFPD did not fund the SWP.   Id.   A request that
                                                                         20   a reward be posted by the SWP had to be approved by the requesting
                                                                         21   officer’s superior officers, then forwarded to the COC for its
                                                                         22   consideration.     Id.2
                                                                         23          Hendrix and Sanders’ request for a SWP reward was approved by
                                                                         24   three people.      An undated copy of a note addressed to McCarthy,
                                                                         25   Hendrix and Sanders, which is xeroxed over the October 4, 1989
                                                                         26
                                                                         27          2
                                                                                      The SWP was discontinued in 1992.   Tabak Dec. at ¶ 4.
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                                                                         1    memo, reads, “Jerry: Per Mary Petrie, this request has been taken
                                                                         2    care of and the reward is in place.”   The memo was not turned over
                                                                         3    to Plaintiffs’ trial attorneys.
                                                                         4         Sanders testified that he didn’t personally give the SWP memo
                                                                         5    to Butterworth, the assistant district attorney handling the case,
                                                                         6    but that it was in the police case file3 and if Butterworth had
                                                                         7    asked for the file, he would have seen it.   Purcell Dec., Ex. 51,
                                                                         8    Sanders Depo. at 129-31.    Asked whether he had informed the
                                                                         9    assistant district attorney about his request to the SWP, Hendrix
                                                                         10   replied, “I don’t know that I did.”    Purcell Dec., Ex. 1, Hendrix
                                                                         11   Depo. at 25.   Butterworth did not know of this memo and he did not
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                                                                         12   produce it to Plaintiffs’ defense counsel.   Purcell Dec., Ex. 42,
                                                                         13   Butterworth Depo. at 100.   Plaintiffs’ defense counsel never
                                                                         14   learned of this request.    Purcell Dec., Ex. 41, Adachi Dec. at ¶ 7;
                                                                         15   Melton Dec. at ¶ 5.   Masina and Pauline Maluina, the other witness
                                                                         16   against Tennison, testified that they did not receive any money for
                                                                         17   testifying against Plaintiffs.    Wong Dec., Ex. UU, Masina Dec. at ¶
                                                                         18   8-10; Wong Dec., Ex. M, Pauline Depo. at 137, 139.
                                                                         19        Neither the SFPD nor the COC has been able to locate any
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                                                                                    The Bureau of Investigations of the SFPD maintains an
                                                                         21   investigative case file for all cases under investigation. Tabak
                                                                              Dec., Ex. A at 25 (December 23, 1985 SFPD Memo on Investigative
                                                                         22   Case File Management). Each case file must contain a Chronological
                                                                              Report of Investigation which lists all pertinent facts needed to
                                                                         23   document the investigation and to substantiate conclusions or
                                                                              recommendations, including exculpatory evidence. Id. at 27. The
                                                                         24   case file is maintained in the possession of the investigating
                                                                              officer, in the investigating officer’s desk or in the section case
                                                                         25   file cabinets. Id. at 35 (March 7, 1990 SFPD Memo on Processing Of
                                                                              Cases Referred to Inspectors Bureau). At some point the
                                                                         26   investigation file or a copy of it, including all exculpatory
                                                                              information, is turned over to the district attorney’s office.
                                                                         27   Balogh Reply Dec., Ex. 81, Tabak Depo. at 99-100.
                                                                         28                                      6
                                                                         1    witnesses or records indicating that a reward was ever offered or
                                                                         2    paid to anyone in connection with the Shannon murder investigation.
                                                                         3    Tabak Dec. at ¶ 5.    No record indicates that any SWP reward funds
                                                                         4    were ever paid to Hendrix or Sanders in any case.     Id.
                                                                         5           On October 11, 1999, Sanders received a check in the amount of
                                                                         6    $1,250 from the SFPD’s Contingent Fund B for the purpose of
                                                                         7    “witness expenses.”   Purcell Dec., Ex. 23, October and December,
                                                                         8    1989 Ledger Pages for Contingent Fund B.      On December 1, 1989,
                                                                         9    Hendrix received a check in the amount of $160 from Contingent Fund
                                                                         10   B for the purpose of a “witness agreement.”     Id.   Contingent Fund B
                                                                         11   is a discretionary fund the Chief of Police uses in the
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                                                                         12   investigation and detection of crime.    Goldberg Dec. at ¶ 3.    The
                                                                         13   Chief of Police or his designee must approve all reimbursements and
                                                                         14   advances to police officers paid from this fund.      Id.   All requests
                                                                         15   for payments from Contingent Fund B must be documented and the
                                                                         16   documentation must be routed through the chain of command to the
                                                                         17   Chief of Police for approval.   Id.    This procedure was in effect in
                                                                         18   1989 and has not changed since then.    Id.    Defendants’ witness
                                                                         19   declares that Contingent Fund B has never been used for rewards,
                                                                         20   and that the payments noted in the ledger were for witness expenses
                                                                         21   unrelated to the October 4, 1989 memo requesting a reward from the
                                                                         22   SWP.   Goldberg Dec. at ¶ 5.
                                                                         23          In a 2005 declaration, Masina states that she moved to Samoa
                                                                         24   shortly after Shannon was killed and that, as far as she knows, her
                                                                         25   transportation expenses to fly from Samoa to San Francisco for the
                                                                         26   preliminary hearings and trial were paid by the SFPD.       Wong Dec.,
                                                                         27   Ex. UU, Masina Dec. at ¶ 14.
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                                                                         1            The Fiscal Division has worked diligently to try to locate
                                                                         2    all supporting documentation for the October payment to Sanders and
                                                                         3    the December payment to Hendrix, but it has only been able to
                                                                         4    locate bank statements; the request memos, cancelled checks and any
                                                                         5    related receipts could not be found.    Id.   The documents were
                                                                         6    likely destroyed years ago as part of the SFPD’s standard
                                                                         7    documentation retention and destruction policy.    Id.
                                                                         8            The information about the Contingent Fund B disbursements was
                                                                         9    not given to Plaintiffs’ trial attorneys.
                                                                         10           In an October 31, 1989 recorded interview with Hendrix and
                                                                         11   Sanders, Masina told them the following information.     Purcell Dec.,
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                                                                         12   Ex. 26.    After midnight on August 19, 1989, Masina and her friend
                                                                         13   Pauline Maluina were parked in the Lovers’ Lane parking lot at the
                                                                         14   top of Visitacion Avenue in a stolen car eleven-year old Masina was
                                                                         15   driving.    Masina said she saw three cars and a truck enter the
                                                                         16   parking lot.    The drivers and the passengers in the vehicles were
                                                                         17   young, African American men.    She heard one boy say to another,
                                                                         18   “Buck, come here.” After the cars had been parked for about ten
                                                                         19   minutes, Shannon’s car went by on Visitacion.    Then the three cars
                                                                         20   and the truck left the parking lot and began to chase Shannon in
                                                                         21   the car he was driving.    Masina drove out of the parking lot and
                                                                         22   followed the cars down the hill without losing sight of Shannon’s
                                                                         23   car.    She said she parked the stolen car on the street near where
                                                                         24   Shannon had crashed his car and ran to a Super Fair parking lot.
                                                                         25   She got separated from her friend Pauline at this point.    At the
                                                                         26   Super Fair parking lot, she saw Shannon being beaten by a gang of
                                                                         27   boys.    Then one boy went to the trunk of his car and got a shotgun.
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                                                                         1    Masina heard four or five shots, saw the boy shoot at Shannon, but
                                                                         2    didn’t know whether any of the shots hit Shannon or were shot in
                                                                         3    the air.    After Shannon was shot, all the boys got back in their
                                                                         4    cars and left.    Masina then went to Shannon who said, “Get
                                                                         5    Patrick.”    Then Masina left the scene.
                                                                         6            At the interview, Sanders showed Masina eight photographs.
                                                                         7    From them she picked two, one of Tennison and one of Goff.       Masina
                                                                         8    said that Tennison was one of the boys who were beating Shannon and
                                                                         9    Goff was the person who shot Shannon.
                                                                         10           On November 28, 1989, Hendrix located Masina’s friend,
                                                                         11   fourteen-year old Pauline Maluina, at Visitacion Valley High School
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                                                                         12   and interviewed her in the presence of her father and the
                                                                         13   principal.    Purcell Dec., Ex. 29, November 28, 1989 Police
                                                                         14   Interview with Pauline Maluina.    At the interview, Pauline told
                                                                         15   Hendrix that she and Masina were walking around and saw some people
                                                                         16   beating up somebody.    Then Shannon “came out looking all
                                                                         17   frightened.    All of a sudden there’s a car right next to them.
                                                                         18   Someone got the gun and shot him right there and me and Masina we
                                                                         19   just ran and we hopped on a bus.    We went down 24th and Mission.”
                                                                         20   Id. at 2.     She and Masina were walking and talking slowly.    Id. at
                                                                         21   4.   Right after one shot was fired, she and Masina ran because they
                                                                         22   thought the shooter was going to point the gun at them and shoot
                                                                         23   them.    Id. at 5.
                                                                         24           At the interview, Hendrix showed Pauline eight San Francisco
                                                                         25   police ID-type photos.    Pauline identified two of the people in the
                                                                         26   photos as being at the scene.    One of the people she picked was
                                                                         27   Tennison.    She said he was not the person who was in charge of the
                                                                         28                                       9
                                                                         1    shotgun.    Id. at 13.   The other person Pauline identified was an
                                                                         2    individual named Wayland Gibson, who was also known as “Buck.”       Id.
                                                                         3    at 12.
                                                                         4             Hendrix and Sanders brought the case to the San Francisco
                                                                         5    District Attorney’s Office, which decided to prosecute Plaintiffs.
                                                                         6    On November 28, 1989, a warrant was issued for the arrest of Goff;
                                                                         7    on December 1, 1989, a warrant was issued for the arrest of
                                                                         8    Tennison.
                                                                         9         The case against Plaintiffs was originally prosecuted by
                                                                         10   Assistant District Attorney Al Giannini.    In December, 1989,
                                                                         11   Giannini filed a California Welfare and Institutions Code § 707
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                                                                         12   petition to have Tennison referred to adult court for prosecution
                                                                         13   in the Shannon homicide.    Kaiser Dec., Ex. B, May 24, 1990
                                                                         14   Butterworth Declaration.    On February 21, 1990, the case was
                                                                         15   transferred to Assistant District Attorney Butterworth.    The
                                                                         16   section 707 hearing took place on March 27, 1990 and April 2, 1990;
                                                                         17   Hendrix and Pauline testified.    Tennison’s attorney, San Francisco
                                                                         18   Assistant Public Defender Jeff Adachi cross-examined them.     The
                                                                         19   petition was granted.    Tennison was arrested on April 5, 1990.
                                                                         20   Tennison’s preliminary hearing was set for April 23, 1990.     Goff
                                                                         21   was arraigned on April 9, 1990 and his preliminary hearing was set
                                                                         22   for May 1, 1990.
                                                                         23        On April 22, 1990, the day before Tennison’s preliminary
                                                                         24   hearing, Pauline arrived from Hawaii, where she was then living, to
                                                                         25   meet with Butterworth before she testified at the hearing.     Kaiser
                                                                         26   Dec., Ex. B, May 24, Butterworth Dec. at 1.    Pauline, her mother,
                                                                         27   Butterworth and Hendrix were at the meeting.    Kaiser Dec., Ex. A,
                                                                         28                                      10
                                                                         1    Butterworth Depo. at 162.     Butterworth had asked Pauline to come to
                                                                         2    the meeting to prepare her for her testimony at the preliminary
                                                                         3    hearing.   Id.    Butterworth had Pauline read the testimony she gave
                                                                         4    at Tennison’s section 707 hearing and told her there were
                                                                         5    discrepancies between what she had testified to and what Masina had
                                                                         6    said in her tape-recorded interview with the police.      Purcell Dec.,
                                                                         7    Ex. 30, April 23, 1990 Police Interview of Pauline Maluina at 2.
                                                                         8    Pauline then told Butterworth that she had not been at the scene of
                                                                         9    Shannon’s homicide.    Id.    She said that she had lied “because she
                                                                         10   didn’t want to get into any more trouble” and she owed Masina
                                                                         11   something.   Id. at 2, 4.    Pauline said that she had been able to
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                                                                         12   pick out Tennison’s photo from the photos Hendrix had shown her at
                                                                         13   the November, 1989 interview “because Masina told me to pick the
                                                                         14   one that looked the biggest, and the largest one out of all the
                                                                         15   pictures.”   Id. at 3.     Pauline also said that she learned all the
                                                                         16   details of Shannon’s shooting from Masina before she spoke to
                                                                         17   Hendrix in November.     Id. at 4.   After he heard Pauline’s
                                                                         18   recantation, Butterworth sent Pauline and her mother back to their
                                                                         19   hotel.    Wong Dec., Ex. O, Butterworth Depo. at 178.    Then
                                                                         20   Butterworth spoke with Hendrix and they decided to bring Pauline
                                                                         21   back the next day to see if she would still say that she wasn’t at
                                                                         22   the murder scene.    Id.
                                                                         23        The next day, April 23, 1990, Pauline returned with her
                                                                         24   mother.    Id.   Butterworth told Pauline that, based upon what she
                                                                         25   had said the previous day, he wanted to do a follow-up interview
                                                                         26   which was going to be tape-recorded.      Id. at 190.   Butterworth told
                                                                         27   Pauline, “Do you understand that based upon what you told Inspector
                                                                         28                                        11
                                                                         1    Hendrix and myself yesterday, that the case against Mr. Tennison
                                                                         2    has been compromised and as a result, uh, we’re not going to be
                                                                         3    able to proceed with the preliminary hearing or with the
                                                                         4    prosecution at this point?   Do you understand that?”     Purcell Dec.,
                                                                         5    Ex. 30, April 23, 1990 Police Interview of Pauline Maluina at 6.
                                                                         6    Pauline responded that she did understand.   Id.      Butterworth asked,
                                                                         7    “And is the reason you are telling us the information you are
                                                                         8    telling us today because that’s the truth or is it just because you
                                                                         9    are afraid to testify against Mr. Tennison?”    Id.     Pauline
                                                                         10   responded, “It’s the truth.”   Id.
                                                                         11        After this interview, Butterworth dismissed the case against
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                                                                         12   Tennison and then had a conference with other members of the
                                                                         13   homicide unit of the district attorney’s office, including the head
                                                                         14   of the unit, to decide how to proceed.   Wong Dec., Ex. O,
                                                                         15   Butterworth Depo. at 192.    During that meeting, it was determined
                                                                         16   that Pauline would be given a polygraph test.   Id. at 194.        The
                                                                         17   goal of the polygraph was to see if, in the face of the polygraph
                                                                         18   examination, Pauline would persist in her claim that she had not
                                                                         19   been at the scene of Shannon’s murder.   Id. at 194.     Another
                                                                         20   decision that was made was to talk to Masina.   Id. at 197.
                                                                         21        On April 23, 1990, Hendrix called Masina who was then living
                                                                         22   in Samoa.   Balogh Reply Dec. at ¶ 7, Ex. 59, photocopies of two
                                                                         23   audiotapes labeled “Masina Fauolo 4/23/90" and “M. Fauolo 4/23/90."
                                                                         24   These are two copies of an original audiotape of Hendrix and
                                                                         25   Masina’s conversation.   These copies were not produced to
                                                                         26   Plaintiffs’ trial counsel nor were they produced in response to
                                                                         27   subpoenas issued in Tennison’s federal habeas case.      Balogh Dec. at
                                                                         28                                     12
                                                                         1    ¶ 7.       They were produced from Butterworth’s files in December,
                                                                         2    2004, in response to Tennison’s subpoena in this case.          Id.   The
                                                                         3    original audiotape of Hendrix’ conversation with Masina has never
                                                                         4    been produced.      Id.4
                                                                         5           Plaintiffs employed forensic audio expert Richard Sanders to
                                                                         6    enhance the sound quality of the audiotapes because they are
                                                                         7    difficult to hear.         Richard Sanders Dec. at 1.   Only Hendrix’ voice
                                                                         8    can be heard on the audiotapes.        Id. at 5.     Even with the
                                                                         9    enhancement, only about one-third of Hendrix’ conversation contains
                                                                         10   recognizable words.        Id.   Richard Sanders made a transcript of the
                                                                         11   audible portion of the tape.        Id.     He states that the only
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                                                                         12   knowledge he had when making the transcript was the names of the
                                                                         13   people who might be involved in the discussion.          Id.   About ten
                                                                         14   minutes into the audiotape, the words, “Can you ever see this
                                                                         15   reward?” can be heard.        Id., Ex. 2, Transcript of Audiotape at 3,
                                                                         16   line 10:58.
                                                                         17          The Inspectors employed audio expert Durand R. Begault to
                                                                         18   review Richard Sanders’ declaration and its attached exhibits.
                                                                         19   Begault Dec. at ¶ 5.        Begault states that even with enhancement of
                                                                         20   the tape, except for an occasional word or phrase such as “OK” or
                                                                         21   “JJ,” it is mostly impossible to determine reliably what exact
                                                                         22   words Hendrix is saying.         Id. at ¶ 14.   Begault states that the
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                                                                                    Tennison indicates that, because this evidence was only
                                                                         24   produced in response to the subpoena in this case, allegations that
                                                                              the Inspectors suppressed the tape of Hendrix’ April 23, 1990
                                                                         25   conversation with Masina is not included in his complaint.
                                                                              Tennison argues that he informed the Inspectors of this Brady claim
                                                                         26   in his responses to their interrogatories and, because the
                                                                              Inspectors have not moved for summary judgment on this claim, it
                                                                         27   remains for trial.
                                                                         28                                          13
                                                                         1    word “reward” is not spoken anywhere on the tape and thus Richard
                                                                         2    Sanders’ transcript of the tape is inaccurate.         Id. at 18.
                                                                         3    Begault’s best estimate of the phrase Richard Sanders transcribes
                                                                         4    as, “Can you ever see this reward” is “Have you ever seen this
                                                                         5    before?”   Begault’s colleague heard, “Have you ever seen this one?”
                                                                         6          On April 24, 1990, Pauline returned to the police station
                                                                         7    without her mother and she was given a polygraph test.           Kaiser
                                                                         8    Dec., Ex. 1, Butterworth Depo. at 202.         Butterworth had a few brief
                                                                         9    words with Pauline before she was polygraphed, but they did not say
                                                                         10   anything of substance.   Id.     Butterworth did not speak to Pauline
                                                                         11   after the polygraph.   Id.     SFPD Inspector Henry Hunter administered
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                                                                         12   the polygraph.   Purcell Dec., Ex. 33, April 27, 1990 Memorandum
                                                                         13   from Henry Hunter to Hendrix and Sanders.         Pauline responded to
                                                                         14   Hunter’s questions by saying that she had not witnessed the Shannon
                                                                         15   murder and that Masina had told her to lie about being there.             Id.
                                                                         16   Hunter determined that the polygraph results were inconclusive.
                                                                         17   Id.   Hunter told Pauline that if she had changed her original story
                                                                         18   because of fear of retaliation, she should not do so because the
                                                                         19   police would give her protection.        Id.    Hendrix placed Hunter’s
                                                                         20   memo summarizing the results of Pauline’s polygraph in the police
                                                                         21   case file which was available to Butterworth.         Hendrix Dec. ¶ 22.
                                                                         22   Butterworth testified that he never saw the memo.            Wong Dec., Ex.
                                                                         23   O, Butterworth Depo. at 207.     Butterworth testified that he told
                                                                         24   Jeff Adachi, Tennison’s defense counsel, about the polygraph.             Id.
                                                                         25   Butterworth could not remember if he told Barry Melton, Goff’s
                                                                         26   defense counsel, about the polygraph.          Id. at 208.    Adachi declares
                                                                         27   that he was not made aware that Pauline was subjected to a
                                                                         28                                       14
                                                                         1    polygraph examination.    Adachi Dec. at ¶ 12.
                                                                         2         After the polygraph, Hendrix put Pauline in a private room and
                                                                         3    arranged for her to talk by phone to Masina, who was in Samoa.
                                                                         4    Hendrix Dec. at ¶ 23.    Hendrix left Pauline in the room alone to
                                                                         5    talk to Masina and did not monitor or record the call.     During the
                                                                         6    call, Masina got mad at Pauline and told her how stupid she was.
                                                                         7    Purcell Dec., Ex. 31, Pauline’s Trial Testimony at 194.      After
                                                                         8    Pauline talked to Masina, Pauline retracted her recantation.
                                                                         9    Hendrix Dec. at ¶ 23.    On April 24, 1990, Hendrix and Sanders
                                                                         10   interviewed Pauline on tape and documented the retraction of her
                                                                         11   recantation.   Id.; Purcell Dec., Ex. 34, April 24, 1990 Police
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                                                                         12   Interview with Pauline Maluina.    Hendrix and Sanders gave this tape
                                                                         13   to Butterworth.   Hendrix Dec. at ¶ 23.
                                                                         14        In a declaration dated June, 2003, Pauline states that, during
                                                                         15   the phone call, Masina pressured her to return to her earlier,
                                                                         16   untrue statements and told Pauline additional details about the
                                                                         17   false testimony she wanted Pauline to give. June, 2003 Maluina Dec.
                                                                         18   at ¶ 14.   At her deposition, Pauline stated that, although Masina
                                                                         19   had never hurt or threatened her, Pauline had seen the damage
                                                                         20   Masina had done to other people and she didn’t want that happening
                                                                         21   to her.    Wong Dec., Ex. M, Maluina Depo. at 249-50.    Pauline stated
                                                                         22   that Masina told her to tell the truth, but Pauline interpreted
                                                                         23   Masina as saying “tell my truth.”       Id. at 282-83.
                                                                         24        Pauline testified that, when Butterworth first heard that she
                                                                         25   was recanting her prior testimony, he got upset and yelled, “How
                                                                         26   could you say that you weren’t there?      You told us that you were
                                                                         27   there.”    Id. at 79.   Later, she clarified that Butterworth got
                                                                         28                                      15
                                                                         1    upset and raised his voice like a parent talking to his child.          Id.
                                                                         2    at 77, 88-89.    She also said that Butterworth looked frustrated and
                                                                         3    then he called in Hendrix.      Id. at 78.    Pauline said that
                                                                         4    Butterworth and Hendrix pushed her toward going back to her
                                                                         5    original testimony by not listening to her when she told them she
                                                                         6    was not at the murder scene.     Id. at 96.     She felt that Butterworth
                                                                         7    and Hendrix did not protect her in that they did not listen to her.
                                                                         8    Id. at 371-72.     Pauline testified that she had asked to take a
                                                                         9    polygraph test.    Id. at 94.
                                                                         10        Tennison’s preliminary hearing was held on June 18, 1990.
                                                                         11   Achiron Reply Dec., Ex. D.      Only Masina testified, but the court
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                                                                         12   heard testimony that Pauline had recanted and that Masina had
                                                                         13   spoken to her after she recanted.        Id. at 105.   Tennison
                                                                         14   Preliminary Hearing at 104-05.     At Goff’s preliminary hearing,
                                                                         15   Butterworth called only Masina, but Goff called Pauline as a
                                                                         16   defense witness.    Achiron Reply Dec., Ex. C, Goff Preliminary
                                                                         17   Hearing at 101-11.    Pauline was examined on the discrepancies
                                                                         18   between her testimony and Masina’s, her recantation and her
                                                                         19   telephone call to Masina regarding her recantation.        Id.    The
                                                                         20   court, in both cases, found probable cause.       Id. at 118-19; Achiron
                                                                         21   Reply Dec., Ex. D, Tennison’s Preliminary Hearing at 118-19.
                                                                         22        Masina and Pauline testified at Plaintiffs’ consolidated
                                                                         23   trial.   On October 3, 1990, a jury found Plaintiffs guilty of
                                                                         24   murder and conspiracy to commit murder.
                                                                         25   II. Pre-Trial Events -- Chante Smith
                                                                         26        On January 3, 1990, Chante Smith contacted Sanders.          Purcell
                                                                         27   Dec., Ex. 45, Sanders’ notes of January 3, 1990 Smith conversation;
                                                                         28                                       16
                                                                         1    Sanders Dec. ¶ 9; Wong Dec. Ex. F, Matter of Goff and Tennison,
                                                                         2    Transcript of Administrative Hearing (Transcript of § 4900 Hearing)
                                                                         3    at 87.   Smith said she had information that she had heard on the
                                                                         4    street and she provided Sanders with a list of names of people she
                                                                         5    had heard were at the scene of the Shannon murder, including a
                                                                         6    person named Luther Blue.   Sanders Dec. ¶ 9; Smith Dec. ¶ 8, Wong
                                                                         7    Dec., Ex. F, Transcript of § 4900 Hearing at 87.     Smith also said
                                                                         8    that Sanders had arrested the wrong people and that Lavinsta
                                                                         9    Ricard5 had shot Shannon.   Smith Dec. ¶ 8.    Smith also told Sanders
                                                                         10   that the car chase started at the Seven-Eleven store, which is
                                                                         11   located east of the Super Fair Market where Shannon was shot,
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                                                                         12   whereas Lovers’ Lane, where Masina and Pauline had said the car
                                                                         13   chase started, is located west of the Super Fair Market.     Smith
                                                                         14   Dec. ¶ 8; see Purcell Dec., Ex. 20, Map.      Smith also described
                                                                         15   several of the cars involved in the car chase.     Smith Dec. ¶ 8.
                                                                         16   Years later, on July 24, 1992, Smith told Butterworth and Sanders
                                                                         17   that she had actually witnessed Shannon’s murder.     Purcell Dec.,
                                                                         18   Ex. 47, Chante Smith’s July 24, 1992 Police Interview at 2-32.       She
                                                                         19   said she had not told Sanders that she was a witness to the murder
                                                                         20   because she was afraid she would go to jail and that Ricard or Blue
                                                                         21   would harm her.   Wong Dec., Ex. F, Transcript of
                                                                         22   § 4900 Hearing at 94-95; Purcell Dec., Ex. 47, Chante Smith’s July
                                                                         23   24, 1992 Police Interview at 40, 62.   Blue and Ricard were friends
                                                                         24   and Smith heard that Blue had paid someone $10,000 to kill her so
                                                                         25   that she could not reveal that Ricard shot Shannon.     Id. at 40.
                                                                         26
                                                                                   5
                                                                                    Smith used Ricard’s street name, Lavinsta.     Apparently, his
                                                                         27   true name is Lovinsky.
                                                                         28                                     17
                                                                         1    Because of these threats, Smith left the home she shared with her
                                                                         2    mother in San Francisco and moved to Richmond and then to Daly
                                                                         3    City.       Id. at 65.   Only Smith’s mother knew how to get in touch
                                                                         4    with her.      Id.
                                                                         5            Sanders made a hand-written note of the Smith interview and
                                                                         6    put it in the police case file, which was made available to
                                                                         7    Butterworth.      Sanders Dec. at ¶ 9; Wong Dec., Ex. I, Sanders’ Note
                                                                         8    dated 1/3/90.        The handwritten note has the word “Chante” written
                                                                         9    at the top left and the top center has the words “Re: ‘Coolie’ 187
                                                                         10   PC,”6 and under this is a telephone number.        Id.   Under this
                                                                         11   heading appear the words, “Luther Blue, ‘Coug Nut’ Lakeview
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                                                                         12   ‘Rapper’, ‘Louie Lou,’ Record Title: ‘Scandelous [sic]’, Laventa or
                                                                         13   Vista, Troy Barnes drives a Black Skylark, Mad Hatter, Mark
                                                                         14   Anthony, Shardedee, ‘The Ill Mannered Posse,’ and ‘We’re going over
                                                                         15   to Sunnydale and start some shit.’”        Id.
                                                                         16           After Smith’s initial contact with Sanders, Sanders came to
                                                                         17   Smith’s house, they sat in the parking lot and Smith told Sanders
                                                                         18   about her knowledge of the people and the cars involved in
                                                                         19   Shannon’s murder.        Purcell Dec., Ex. 47, Smith’s July 24, 1992
                                                                         20   Police Interview at 61.       Sanders sent three officers from the GTF
                                                                         21   to Smith’s house to show her pictures of a truck similar to the one
                                                                         22   she had described to Sanders.       Id.    She was asked to identify the
                                                                         23   truck because she had told Sanders that, after Shannon had been
                                                                         24   shot, she had seen people involved in the shooting at the Sundial,
                                                                         25
                                                                         26           6
                                                                                    Coolie was Shannon’s street name. 187 PC refers to
                                                                              California Penal Code § 187 which provides the definition of
                                                                         27   murder.
                                                                         28                                         18
                                                                         1    a park in Hunter’s Point, and she had seen a truck there.      Id. at
                                                                         2    62-63.
                                                                         3            On February 8, 1990, after Smith had spoken to Sanders,
                                                                         4    Hendrix and Lewis interviewed Lovinsky Ricard.     Purcell Dec., Ex.
                                                                         5    37, Transcript of February 8, 1990 Police Interview with Lovinsky
                                                                         6    Ricard.    Hendrix named the people mentioned by Smith and asked
                                                                         7    Ricard if he knew any of them.     Ricard denied knowing any of them.
                                                                         8    Id. at 7-12.     Hendrix asked Ricard if he was present when Shannon
                                                                         9    was shot.    Id. at 14.   Ricard replied, “No.”   Id.   Hendrix told
                                                                         10   Ricard that someone had told the police that Ricard had shot
                                                                         11   Shannon to avenge the death of Cheap Charlie and asked Ricard if he
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                                                                         12   shot Shannon.    Id. at 16-17.    Ricard again denied shooting Shannon.
                                                                         13   Id. at 17.    Toward the end of the interview Hendrix told Ricard,
                                                                         14   “I’m saying your name came up in this investigation, with Cooley.
                                                                         15   Someone says you were there at the scene.     Now, I don’t think this
                                                                         16   person would have a grudge with you.     I don’t think this person
                                                                         17   would do it maliciously or try to damage you in any way because it
                                                                         18   doesn’t appear to be that type of individual.     However, it’s
                                                                         19   something that has to be explained, one way or another.      And we’d
                                                                         20   be less than diligent, sworn to do our duty if we didn’t pursue,
                                                                         21   check it out.”    Id. at 22-23.
                                                                         22           On February 9, 1990, Sanders and Gittens interviewed Luther
                                                                         23   Blue.    Wong Dec., Ex. S, Transcript of February 9, 1990 police
                                                                         24   interview with Luther Blue.      Sanders informed Blue that his name
                                                                         25   had come up in connection with the Shannon homicide.      Id. at 4.
                                                                         26   Blue said that he had never heard anything about the Shannon
                                                                         27   incident.    Id. at 5.    Later in the interview, Blue stated that he
                                                                         28                                       19
                                                                         1    had heard that Shannon had been shot, but that he was not there.
                                                                         2    Id. at 10.   Sanders stated,
                                                                         3         Now we’re gonna get to the bottom of Roderick Shannon
                                                                                   being shot. Now, we know and its [sic] obvious to you,
                                                                         4         or it should be, that somebody has talked to us . . . I
                                                                                   believe you were there, ‘cause I believe the person who
                                                                         5         told me. . . . But what I’m saying son the people we
                                                                                   talked to told us exactly what happened. They told us
                                                                         6         about the truck. We know who the truck belongs to. We
                                                                                   know about the truck. We know about the chase, we know
                                                                         7         that he was -- the person just out drove him, Roderick,
                                                                                   he didn’t know much about drivin’ cars. After he wrecked
                                                                         8         the car they chased him and when they made that turn, he
                                                                                   thought behind that market . . . there used to be a lower
                                                                         9         fence . . . he thought if he could get over the fence he
                                                                                   could get in the backyard and get away. Only when he got
                                                                         10        up there they caught him. There were people standing
                                                                                   around. So, can you tell me . . . why these individuals
                                                                         11        would say ‘yeah, Luther was there,’ they didn’t say you
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                                                                                   were doing nothing . . .
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                                                                         12
                                                                              Id. at 21, 23-24.
                                                                         13
                                                                                   Blue replied, “I don’t know why they’d say I was there.”      Id.
                                                                         14
                                                                              at 24.   Sanders stated, “I believe the people who talked to me.    I
                                                                         15
                                                                              believe you were there.   You were there . . . and I can understand
                                                                         16
                                                                              you being afraid, that’s no . . . Son, that is no crime to be
                                                                         17
                                                                              afraid. . . .”   Id. at 25.    Later, Sanders stated,
                                                                         18
                                                                                   Now tell me, if I were to tell you that on the night of
                                                                         19        the incident you were at the 7-11 on Third Street . . .
                                                                                   You became possed up with a group of other young men and
                                                                         20        gave chase to an automobile driven by –- actually you
                                                                                   didn’t know who it was driven by, they thought it was
                                                                         21        Patrick’s car. Roderick Shannon was Patrick’s cousin.
                                                                                   Gave chase to the car. The car, lost it, picked it up
                                                                         22        again, chased it until it ran the fence and then the
                                                                                   truck backed down the street –- that was some pretty
                                                                         23        skillful driving. And when the witnesses told us about
                                                                                   that –- that took some pretty skillful driving. All the
                                                                         24        time, the people that were in the truck, and in the other
                                                                                   vehicles, they all knew each other. Everybody knew
                                                                         25        everybody else –- And you were there. You were there
                                                                                   Luther. Tell you what I’m going to do, son . . . I’m
                                                                         26        going to give you time to think about it. . . . Meanwhile
                                                                                   we are going to continue our investigation.
                                                                         27
                                                                         28                                      20
                                                                         1    Id. at 27.
                                                                         2         Butterworth testified that Sanders’ January 3, 1990 note was
                                                                         3    in his file, but that he would not have known from the names listed
                                                                         4    on the note what role these individuals played or why they were
                                                                         5    identified.   Wong Dec. Ex. O, Butterworth Dep. at 113, 116.
                                                                         6    Butterworth said that this list of names, without any other
                                                                         7    information, would be valueless because, in a homicide
                                                                         8    investigation, everything is contextual.       Id. at 117.   Butterworth
                                                                         9    learned the significance of the document in the review of the
                                                                         10   petition for writ of habeas corpus.      Id.   Butterworth has no
                                                                         11   personal knowledge whether Sanders’ note was produced to Adachi,
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                                                                         12   but he testified that it was in the district attorney’s file, and
                                                                         13   therefore it would have been turned over to Adachi in the initial
                                                                         14   discovery package.    Id. at 113.
                                                                         15        Adachi declares that he never received any information or
                                                                         16   documentation regarding the information Smith provided to Sanders.
                                                                         17   Adachi Dec. at ¶ 4.   Adachi states that he never received a copy of
                                                                         18   Sanders’ handwritten note.   Id.    He states that the first time he
                                                                         19   received the note was in June, 2002, when Tennison’s present
                                                                         20   attorney gave him a copy of it.     Id. at ¶ 5.    Adachi states that
                                                                         21   had he known that Smith had stated that the car chase started at
                                                                         22   the Seven-Eleven, which was inconsistent with Masina and Pauline’s
                                                                         23   story, he would have had a legitimate alternative theory for the
                                                                         24   case that would have proven the girls were lying, he could have
                                                                         25   identified a woman named “Chante” who had information about a list
                                                                         26   of potential witnesses or suspects and he would have been able to
                                                                         27
                                                                         28                                       21
                                                                         1    follow up on the dead-end police interviews of Lovinsky Ricard on
                                                                         2    February 8, 1990, and of Luther Blue on February 14, 1990.    Id.
                                                                         3           Melton declares that he never received any information, oral
                                                                         4    or written, about the police interview with Smith in which she
                                                                         5    named Ricard.   Melton Dec. at ¶ 4.
                                                                         6           In Smith’s 1992 police interview, Butterworth and Sanders
                                                                         7    questioned her about her interaction with Plaintiffs.    Smith stated
                                                                         8    that she had gone out with Goff about twice, that they were friends
                                                                         9    but that they were not dating.    Purcell Dec., Ex. 47, 1992 Smith
                                                                         10   Interview at 39, 60.   Smith only knew Goff as Antoine or Sodapop,
                                                                         11   his street name; she did not know his last name.    Id. at 42.
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                                                                         12   Before Plaintiffs’ trial, Smith was contacted by some of Tennison’s
                                                                         13   and Goff’s friends who told her that Tennison and Goff,
                                                                         14   independently, wanted her to testify or talk to their attorneys.
                                                                         15   Id. at 41, 66-67.    Smith told Plaintiffs’ friends that she had been
                                                                         16   threatened and couldn’t take the risk.    Id. at 41.   Smith stated
                                                                         17   that she had worked as an operator for Pacific Bell in Burlingame
                                                                         18   and, after Plaintiffs’ trial, when they were incarcerated in the
                                                                         19   county jail, she handled several collect calls placed separately by
                                                                         20   Tennison and Goff.   Id. at 66.    At that time, Smith did not know
                                                                         21   Tennison’s name.    Id. at 42.   When Tennison realized that the
                                                                         22   operator was Smith, he asked her to talk to himself or his
                                                                         23   attorney, but Smith said she would not come forward because she was
                                                                         24   afraid of getting into trouble.    Id. at 42, 44.   Neither Tennison
                                                                         25   nor Goff had Smith’s home number, so they did not know how to find
                                                                         26   her.   Id. at 45.
                                                                         27          At Tennison’s motion for new trial, Bruce Tennison testified
                                                                         28                                      22
                                                                         1    that Adachi had asked him to find a woman by the name of Chauntey
                                                                         2    White to ask her if she knew anything about the Shannon homicide.
                                                                         3    Wong Dec., Ex. E, Transcript of New Trial Motion at 228.     Bruce
                                                                         4    Tennison could not find her because he did not have a number for
                                                                         5    her.   Id.
                                                                         6           In her 1992 interview, Smith stated that if Plaintiffs’
                                                                         7    attorneys had served her with a subpoena, she would have come in
                                                                         8    and talked to them.    Purcell Dec., Ex. 47, 1992 Smith Interview at
                                                                         9    45.    She reiterated this statements in her testimony at the § 4900
                                                                         10   hearing.     Wong Dec., Ex. F., Transcript of § 4900 Hearing at 163,
                                                                         11   165, 167.
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                                                                         12          At the § 4900 hearing, Goff testified that, before Shannon’s
                                                                         13   murder, Goff had gone out with Smith twice.     Wong Dec., Ex. F,
                                                                         14   Transcript of § 4900 Hearing at 640.     Goff testified that a month
                                                                         15   or two after the murder, he was among a crowd of people who were
                                                                         16   listening to a person named Lovinsky Ricard brag about shooting
                                                                         17   Shannon.     Id. at 580.   Goff heard Ricard mention Smith’s name in
                                                                         18   connection with Shannon’s murder, and the next time Goff saw Smith,
                                                                         19   he asked her if she knew anything about the murder.     Id. at 582-83,
                                                                         20   641.   Smith told Goff that she didn’t have anything to do with the
                                                                         21   murder, and Goff never said anything else about it to her.     Id. at
                                                                         22   582.   Goff believed he told Melton about Smith.    Id. at 595, 677.
                                                                         23   Goff did not tell Tennison any of the information he knew about
                                                                         24   Ricard and Smith.    Id. at 639.    After he was convicted, but prior
                                                                         25   to being sentenced, Goff had two or three telephone conversations
                                                                         26   with Smith and he asked her to talk to his lawyer because his
                                                                         27   friend had told him that she may have been at the murder scene.
                                                                         28                                       23
                                                                         1    Id. at 673-74.
                                                                         2    III.       Post-Trial Events -- Lovinsky Ricard
                                                                         3           On November 7, 1990, shortly after Plaintiffs had been
                                                                         4    convicted, Lovinsky Ricard was arrested, on a bench warrant, by
                                                                         5    SFPD officers Lewis and Gittens, two members of the GTF who were
                                                                         6    working on the Shannon murder with Hendrix and Sanders.          Purcell
                                                                         7    Dec., Ex. 19, Lewis Depo. at 18, 31; Purcell Dec., Ex. 38, Lovinsky
                                                                         8    Ricard’s November 7, 1990 Police Interview at 2.        Ricard
                                                                         9    voluntarily told them that he had shot Shannon.        Id. at 34.    Lewis
                                                                         10   and Gittens read Ricard his Miranda warnings and questioned him
                                                                         11   about the Shannon homicide.       Id. at 14.    The interview was audio-
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                                                                         12   taped.      Ricard stated that, on the night of the murder, he had been
                                                                         13   hanging out, drinking with others and riding with friends in a
                                                                         14   convertible.      Id. at 15.7   Ricard did not want to name the others
                                                                         15   who were present, stating that he did not want them to be arrested
                                                                         16   or involved in the case.        Id. at 17-18.   Ricard said that he had
                                                                         17   started thinking about his friend Cheap Charlie, who had just been
                                                                         18   killed, and he was talking about what he would do about it.          Id. at
                                                                         19   3.   He had a shotgun with him.      Id.   He went with his friends in
                                                                         20   the convertible to a Seven-Eleven store and there he decided to
                                                                         21   join other people in the back of a pick-up truck.        Id. at 6.    He
                                                                         22   saw a black car and he recognized the driver as one of the group
                                                                         23   who he thought had killed Cheap Charlie.        Id.   A car chase began
                                                                         24   and, from the back of the truck, Ricard shot at the black car.         Id.
                                                                         25
                                                                                     7
                                                                                    At her July 24, 1992 police interview, Smith stated that, on
                                                                         26   the night of the Shannon murder, she had been driving a convertible
                                                                              with Ricard and two other passengers. Purcell Dec., Ex. 47, Smith
                                                                         27   Police Interview at 3-4, 68.
                                                                         28                                         24
                                                                         1    The driver threw the car in reverse and went backward.       Id.     Then
                                                                         2    the driver of the truck threw the truck in reverse and drove
                                                                         3    backward chasing the car.    Id.   During the chase, Ricard was
                                                                         4    shooting at the car.    Id. at 6-7.     The driver ran the car up on the
                                                                         5    curb and into the fence, and jumped out of the car and started
                                                                         6    running.    Id. at 7.   Some of the people who had been chasing the
                                                                         7    black car caught the driver and were beating him in a corner.         Id.
                                                                         8    Ricard jumped out of the back of the truck with the gun and, when
                                                                         9    he pointed the gun at Shannon, everybody cleared back and Ricard
                                                                         10   shot him.   Id.   Then everybody scattered.    Id.    Ricard jumped back
                                                                         11   in the truck and the truck and all the cars drove away.       Id. at 7-
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                                                                         12   8.   The gun he used had been stolen, so there was no possibility
                                                                         13   that the police would find it.     Id. at 8.    Ricard stated that he
                                                                         14   was confessing because he had been feeling bad that two of his
                                                                         15   friends were going down for something he did and now he was trying
                                                                         16   to do the right thing.    Id. at 13-14, 15.     Ricard stated that he
                                                                         17   knew Tennison and Goff well and they were not at the scene of the
                                                                         18   murder.    Id. at 15.   Ricard said the convertible he was originally
                                                                         19   riding in that evening, before he got into the pick-up truck,
                                                                         20   pulled up to the scene after the shooting was over.       Id. at 18.
                                                                         21   Several times Lewis asked Ricard for the names of people who could
                                                                         22   verify any part of his story; Ricard refused to name other people
                                                                         23   because he didn't want to bring them into it.        Id. at 25-28.
                                                                         24         At his 2001 deposition, Lewis testified that Ricard's
                                                                         25   description of the car chase was consistent with everything else he
                                                                         26   had heard about it, that during the course of the chase, the person
                                                                         27   being chased had put his car in reverse and gone backwards for some
                                                                         28                                      25
                                                                         1    distance.   Purcell Dec., Ex. 19, December 3, 2001 Lewis Depo. at
                                                                         2    65.   After Ricard confessed, Lewis believed that Ricard murdered
                                                                         3    Shannon.    Id. at 82.   Lewis testified that he advised Hendrix and
                                                                         4    Sanders that Ricard had confessed on tape and “they said they would
                                                                         5    consider the information that I gave them through the interview and
                                                                         6    it would be determined from there, from others other than myself,
                                                                         7    how they would go further.”    Id. at 86.     Lewis stated that he gave
                                                                         8    the Inspectors a copy or the original of the audiotape, but not a
                                                                         9    written transcript, so they would have to play and listen to the
                                                                         10   tape to determine what was on it.       Id.   Lewis was sure he gave them
                                                                         11   some kind of narrative regarding the content of the tape.       Id. at
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                                                                         12   88.
                                                                         13         At his 2005 deposition, Lewis testified that on November 7,
                                                                         14   1990, after he interviewed Ricard, he made a copy of the audiotape
                                                                         15   of the interview.   Wong Dec., Ex. R, May 10, 2005 Lewis Depo. at
                                                                         16   66.   Lewis was asked, “Once you concluded the Ricard interview and
                                                                         17   you had the audiotape of it, what did you do with that tape?”       He
                                                                         18   answered:
                                                                         19         My recall is that I made a copy of it and either put it
                                                                                    in room 400, which is like the operation center for the
                                                                         20         police department, so when the different bureau chiefs or
                                                                                    lieutenants come in they can forward that information to
                                                                         21         whomever in their unit needed it. Or I would write a
                                                                                    note -- and I recall having done this on occasion -- I
                                                                         22         don’t remember that I did it on this occasion -- and
                                                                                    either put it under the door so that they could get it
                                                                         23         first thing in the morning. Because we work
                                                                                    predominantly nights.
                                                                         24   Id.
                                                                         25         Then the following exchange took place:
                                                                         26         Q: When you say “put it under the door,” do you mean the
                                                                                    door to Inspectors Hendrix’ and Sanders’ office?
                                                                         27
                                                                         28                                      26
                                                                         1    A: The door to the homicide detail, yes.
                                                                         2    Q: And that was where Inspector Hendrix and Sanders had
                                                                              their desks, in the homicide detail?
                                                                         3
                                                                              A: Yes.
                                                                         4
                                                                              Q: And is your recollection that you did this immediately
                                                                         5    after taking the confession?
                                                                         6    A: That evening before I left the building, yes.
                                                                         7    . . .
                                                                         8    Q: Do you recall talking to Inspector Hendrix or
                                                                              Inspector Sanders about what Ricard had said during the
                                                                         9    November, 1990 interview?
                                                                         10   A: The next day I believe I talked to them.
                                                                         11   Q: What did you say?
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                                                                         12   A: “Did you hear the tape?”
                                                                         13   Q: And were you talking to both Inspector Hendrix and
                                                                              Inspector Sanders or just one of them?
                                                                         14
                                                                              A: I don’t recall, but I think it was Napoleon.
                                                                         15
                                                                              Q: And when you asked him “Did you hear the tape” what
                                                                         16   did he say?
                                                                         17   A: As I recall, he said, “Yeah, I listened to it, but it
                                                                              was -- you know, your boy has got to come in and lay it
                                                                         18   all out. He has got to do better than -- than this.”
                                                                         19   Q: So, he gave you the impression he had listened to the
                                                                              tape?
                                                                         20
                                                                              A: Yes, as I recall I believe so.
                                                                         21
                                                                              . . .
                                                                         22
                                                                              A: Or maybe I told him about the content of the tape. I
                                                                         23   don’t know that he sat and listened to the whole thing.
                                                                              Maybe I came away with that impression. But I was
                                                                         24   excited about it. I told him why. And he said, you know
                                                                              --
                                                                         25
                                                                              Q: He made specific suggestions about additional
                                                                         26   information that he would like to see Ricard provide?
                                                                         27   A: And he said that while it was a good interview, he was
                                                                         28                                 27
                                                                         1            still very vague on specifics. And so he -- as I recall,
                                                                                      he told me that if he was going to do this then
                                                                         2            -- then he would be -- he would need a gun, named
                                                                                      additional suspects, vehicles, or something tangible to
                                                                         3            turn this thing around.
                                                                         4    Id. at 66-68.
                                                                         5            At his 2001 deposition, Sanders testified that he received the
                                                                         6    tape of the Ricard confession within a day or two after it was
                                                                         7    made.    Purcell Dec., Ex. 40, Sanders Depo. at 126.   Sanders stated
                                                                         8    that “the first thing I did –- we did -- was compare the two tapes.
                                                                         9    And they were diabolically [sic] opposed.    One, he had nothing to
                                                                         10   do with it, and on this one he’s -- in this interview, he’s
                                                                         11   confessing.    Further, in analyzing his statements in the November
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                                                                         12   7th statement, . . . there were just all kinds of unverifiable,
                                                                         13   flawed facts in his case.    So with this, we wanted to talk to him
                                                                         14   again.    And was –- and to talk to Mr. Lovinsky again.    But he was
                                                                         15   then covered by an attorney, and he didn’t want to talk anymore.”
                                                                         16   Id.     In answer to the question whether he withheld the copy of the
                                                                         17   tape from Butterworth, Sanders replied, “No, this was something
                                                                         18   that was paramount.    We got ahold [sic] of him right away and we
                                                                         19   had to talk to him about it, told him we were investigating it.”
                                                                         20   Id.
                                                                         21           In his June 2, 2005 declaration submitted in support of his
                                                                         22   motion for summary judgment, Sanders states that he learned of
                                                                         23   Ricard's taped confession from Butterworth in May, 1991.     Sanders
                                                                         24   Dec. at ¶ 10.    At the time, Butterworth was involved in litigating
                                                                         25   Tennison's motion for new trial and asked Sanders to investigate
                                                                         26   the statements made by Ricard on the tape.    Id. at 10.    Sanders
                                                                         27   states that he never received a copy of the tape from Lewis and
                                                                         28                                      28
                                                                         1    never had a copy in his possession.     Id.
                                                                         2          At his January 18, 2005 deposition, Hendrix testified that he
                                                                         3    learned of the Ricard confession from Sanders, but could not
                                                                         4    remember when Sanders told him about it.      Purcell Dec., Ex. 1,
                                                                         5    Hendrix Depo. at 57, 63.   Hendrix testified that he never listened
                                                                         6    to the audiotape of the confession.     Id. at 63.     Hendrix testified
                                                                         7    that he and Sanders were responsible for turning over evidence
                                                                         8    connected to the Shannon homicide to the district attorney because
                                                                         9    it was their case.   Id. at 64.   He testified that he never took any
                                                                         10   steps to turn the tape of Ricard's confession over to Butterworth,
                                                                         11   because it was never in his possession.       Id.   He stated that he
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                                                                         12   felt it was Lewis and Gittens’ responsibility to turn the tape over
                                                                         13   to Butterworth because they took the confession and made the tape.
                                                                         14   Id. at 67.   Hendrix felt angry at Lewis and Gittens for not calling
                                                                         15   Sanders and himself to conduct the Ricard interview, because the
                                                                         16   Shannon case was Sanders’ and Hendrix’ responsibility, and if there
                                                                         17   was a development in it, he and Sanders should have been contacted.
                                                                         18   Id. at 67, 70-71.    After he learned of the taped confession,
                                                                         19   Hendrix didn't care about the tape, he just wanted to find Ricard
                                                                         20   and he and Sanders took steps to try to locate him.       Id. at 67, 70,
                                                                         21   72.   They located Ricard's father and a girl who was keeping
                                                                         22   company with Ricard and went to the places where Ricard usually
                                                                         23   hung out, on the street corners and up in the projects.       Id.
                                                                         24   Ricard's father told them that Ricard had left town and there was
                                                                         25   no sense in them looking for him.      Id. at 72-73.   Hendrix testified
                                                                         26   that he and Sanders tried to locate Ricard over a period of months.
                                                                         27   Id. at 73.   During this time Hendrix never informed Butterworth of
                                                                         28                                     29
                                                                         1    their efforts to locate Ricard.      Id.
                                                                         2           In his June 2, 2005 declaration submitted in support of his
                                                                         3    motion for summary judgment, Hendrix states that he first became
                                                                         4    aware of Ricard's taped confession from Sanders who said that he
                                                                         5    had learned of it from Butterworth.        Hendrix Dec. at ¶ 10.   Hendrix
                                                                         6    states that he never had a copy of the Ricard taped statement in
                                                                         7    his possession.     Id.
                                                                         8           Butterworth testifies that he first learned of Ricard's
                                                                         9    confession in May, 1991 when he ran into Lewis in the cafeteria in
                                                                         10   the Hall of Justice.       Butterworth Dec. at ¶ 23.   At that time,
                                                                         11   Butterworth was in the midst of the hearing on Tennison's motion
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                                                                         12   for a new trial.     Id.    Lewis informed Butterworth that he had a
                                                                         13   tape-recorded interview with Ricard admitting that he killed
                                                                         14   Shannon.     Id.   Butterworth told Lewis that he did not have a copy
                                                                         15   of the audiotape and asked Lewis to give him a copy, which Lewis
                                                                         16   did.   Id.    Butterworth contacted Sanders and informed him of the
                                                                         17   taped Ricard confession.      Id.   Sanders responded that he was not
                                                                         18   aware of any statement in which Ricard admitted killing Shannon.
                                                                         19   Id.    Butterworth immediately informed Tennison's defense counsel of
                                                                         20   the taped statement, and he included it in his new trial motion.
                                                                         21   Id.    Butterworth asked Sanders to assist him in responding to the
                                                                         22   new trial motion; Hendrix was not available to work on it.         Id.
                                                                         23   Sanders did some follow-up work to check out some of the statements
                                                                         24   Ricard had made on the tape, such as visiting a store mentioned by
                                                                         25   Ricard to see what type of shotgun ammunition the store sold.          Id.
                                                                         26   After he reviewed Ricard's statement with Sanders, Butterworth
                                                                         27   concluded that Ricard's confession was not credible.       Id.
                                                                         28                                        30
                                                                         1    Butterworth helped Sanders prepare a declaration regarding Ricard's
                                                                         2    confession, which he submitted to the court.     Id.
                                                                         3         Very soon after the jury verdict against Tennison, Tennison
                                                                         4    heard from friends that Ricard might be implicated in the Shannon
                                                                         5    murder.   Wong Dec., Ex. E., Transcript of New Trial Motion at 132.
                                                                         6    Tennison gave this information to Adachi.   Id. at 142-43.       Adachi,
                                                                         7    eventually found Ricard and convinced him to make a videotaped
                                                                         8    confession, which he did anonymously with a hood over his head.
                                                                         9    Purcell Dec., Ex. 41, Adachi Dec. at ¶ 4.   Because the Public
                                                                         10   Defender's Office was representing Ricard in a separate matter,
                                                                         11   Adachi's supervisors informed him that he was required to withdraw
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                                                                         12   from representing Tennison, with the new trial motion pending.       Id.
                                                                         13   While he was representing Tennison, no one from the district
                                                                         14   attorney’s office or the SFPD informed him of Ricard’s November 7,
                                                                         15   1990 taped confession to police.    Id. at 6.    On March 1, 1991,
                                                                         16   Adachi was replaced as Tennison's counsel by LeRue Grim.       On May
                                                                         17   17, 1991, the second-to-last day of the hearing on Tennison's new
                                                                         18   trial motion, Butterworth informed Grim of the Ricard tape.
                                                                         19   Melton, Goff's attorney, was not informed by anyone from the
                                                                         20   district attorney’s office or the SFPD of the November 7, 1990
                                                                         21   Ricard taped confession.   Melton Dec. at ¶ 6.
                                                                         22        Tennison’s motion for a new trial was based, in part, on the
                                                                         23   tape of Ricard’s anonymous confession that Adachi had made.       Wong
                                                                         24   Dec., Ex. GG, October 8, 1990 California court of appeal decision
                                                                         25   in People v. Tennison, appeal no. A054353 at 5.        At the hearing on
                                                                         26   the motion, Adachi, based on his attorney-client obligations to
                                                                         27   Ricard, refused to disclose the identity of the videotaped
                                                                         28                                      31
                                                                         1    interviewee, but testified that he made the tape in conjunction
                                                                         2    with Tennison’s case and he provided the tape to Tennison’s new
                                                                         3    counsel.   Wong Dec., Ex. E, Transcript of New Trial Motion at 16
                                                                         4    passim, 91-94, 102-03.      In order to authenticate the video-tape of
                                                                         5    the anonymous confession, Tennison and Adachi testified about how
                                                                         6    they found out that Ricard was involved in the Shannon murder.         Id.
                                                                         7    at 47-48, 133 passim.      Grim, Tennison’s attorney at the new trial
                                                                         8    proceeding, explained that the testimony was not offered for the
                                                                         9    truth of the matter, but to show a cumulative, causal chain that
                                                                         10   led to Tennison’s discussion with Adachi regarding Ricard.       Id. at
                                                                         11   132.   Tennison stated that in the beginning of October, 1990, about
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                                                                         12   a week after he was convicted, his friends, who thought he would be
                                                                         13   acquitted because they knew that he was not involved, told him that
                                                                         14   two people, Lavista Ricard and Luther Blue, were involved in the
                                                                         15   murder.    Id.   Tennison called Ricard from the county jail.    Id. at
                                                                         16   133.   Ricard told Tennison that he had been among the people who
                                                                         17   had chased Shannon and that he had fired a shot at him.       Id. at
                                                                         18   136.   Tennison asked Ricard to come forward and admit to being the
                                                                         19   shooter and Ricard agreed to speak to Tennison’s lawyer.       Id. at
                                                                         20   138.   About a week later, Tennison told Adachi about his
                                                                         21   conversation with Ricard.     Id. at 140.    In November, 1990, Adachi
                                                                         22   told Tennison that he’d called Ricard several times, but hadn’t
                                                                         23   received an answer.      Id. at 141-42.   Tennison also asked his
                                                                         24   brother, Bruce Tennison, to speak to Adachi about tracking down
                                                                         25   Ricard.    Id. at 142.    Tennison met with Adachi later in November,
                                                                         26   1990, and Adachi told him he had talked to Ricard over the phone
                                                                         27   and Ricard had admitted to the crime.       Id. at 142-43.   Adachi set
                                                                         28                                       32
                                                                         1    up a meeting with Ricard, but Ricard failed to show up.     Id. at
                                                                         2    143-44.   In about December, 1990, Tennison met Luther Blue, who was
                                                                         3    also in jail.    Id. at 144.    Blue told Tennison that he had
                                                                         4    witnessed the Shannon homicide and that he was willing to testify
                                                                         5    to help Tennison, but when Adachi questioned Blue, he denied
                                                                         6    knowing anything about the shooting.     Id. at 145-46.   Tennison
                                                                         7    stated that Blue told him that homicide inspectors had interviewed
                                                                         8    Ricard who made a taped statement admitting that he shot Shannon.
                                                                         9    Id. at 170.     Blue also mentioned that a person named Chauntey White
                                                                         10   was connected with the murder.     Id.   Tennison testified that in
                                                                         11   November or December, 1990, his brother, Bruce Tennison, told him
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                                                                         12   that he had talked to Ricard and Ricard told Bruce that Ricard had
                                                                         13   made a statement to the police admitting to the crime.     Id. at 205.
                                                                         14   Adachi testified that Tennison had given him Ricard’s name, address
                                                                         15   and telephone number very soon after the verdict or even during the
                                                                         16   trial.    Id. at 75.
                                                                         17        The trial court denied Tennison’s motion on the grounds that
                                                                         18   the tapes of the two Ricard confessions were legally inadmissible
                                                                         19   and, even if they were admissible, Ricard’s statements contained so
                                                                         20   many inconsistencies that they could not be considered to be
                                                                         21   trustworthy.    People v. Tennison, appeal no. A05453 at 6.      The
                                                                         22   appellate court affirmed.      Regarding the admissibility of Ricard’s
                                                                         23   confessions, the court stated that Tennison had “made no showing
                                                                         24   that he had diligently attempted to obtain Ricard’s attendance at
                                                                         25   the hearing on the motion for new trial, or that he would be
                                                                         26   legally unavailable to testify at a new trial, a prerequisite for
                                                                         27   application of the declaration against interest exception [to the
                                                                         28                                       33
                                                                         1    hearsay rule].”   Id. at 7.     Regarding the trustworthiness of the
                                                                         2    confession, the court stated,
                                                                         3         Ricard’s refusal to provide the police or Adachi any
                                                                                   names and his inability to account for the whereabouts of
                                                                         4         the gun undermine his credibility because his version of
                                                                                   the incident cannot be corroborated. Likewise the
                                                                         5         inconsistencies between his two statements, between his
                                                                                   statements and the evidence at trial, and between his
                                                                         6         statements and appellant’s testimony cast doubt on their
                                                                                   trustworthiness. For instance, Ricard stated that he
                                                                         7         fired once, but the medical evidence established two
                                                                                   shots to the victim’s body and witnesses referred to
                                                                         8         multiple gunshots. . . . Ricard stated that he came
                                                                                   forward because ‘two of my friends’ were going down for
                                                                         9         the crime, but appellant testified he did not know
                                                                                   Ricard, had never seen him, and had only first spoken
                                                                         10        with him on the telephone after the verdict. Given such
                                                                                   inconsistencies, the court did not err in determining
                                                                         11        Ricard’s statements were untrustworthy and thus
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                                                                                   inadmissible.
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                                                                         12
                                                                              Id. 7-8.
                                                                         13
                                                                                   At the § 4900 hearing, Goff testified that, about three to
                                                                         14
                                                                              four weeks after Shannon was shot, he heard rumors on the street
                                                                         15
                                                                              that Ricard may have had something to do with the murder.     Wong
                                                                         16
                                                                              Dec., Ex. F, Transcript of § 4900 Hearing at 579.     Goff had also
                                                                         17
                                                                              heard rumors that the chase started at a Seven-Eleven store.       Id.
                                                                         18
                                                                              at 578.    Goff testified that a month or two after the murder, he
                                                                         19
                                                                              had been among a crowd of people who were listening to Ricard brag
                                                                         20
                                                                              about shooting Shannon.   Id. at 580.     Goff assumed that Ricard was
                                                                         21
                                                                              lying because he didn’t think the real shooter would brag about it
                                                                         22
                                                                              on the street.    Id. at 582.   Goff knew Ricard because they lived in
                                                                         23
                                                                              the same neighborhood, but they weren’t friends.     Id. at 636.
                                                                         24
                                                                              About a month after he was charged with committing the Shannon
                                                                         25
                                                                              murder, Goff told Melton that he had heard Ricard brag about
                                                                         26
                                                                              shooting Shannon and Melton replied that he would look into it.
                                                                         27
                                                                         28                                       34
                                                                         1    Id. at 595.
                                                                         2    IV. Plaintiffs' Claims
                                                                         3         In their complaints, Tennison and Goff allege that Butterworth
                                                                         4    participated in the suppression of material, exculpatory evidence,
                                                                         5    and manufactured evidence by pressuring Pauline to retract her
                                                                         6    recantation.    Tennison and Goff allege the following claims against
                                                                         7    the Inspectors:   (1) they participated in the suppression of
                                                                         8    material, exculpatory and impeachment evidence that probably would
                                                                         9    have led to Tennison's and Goff’s acquittal; and (2) they actively
                                                                         10   solicited perjured testimony while deliberately ignoring and
                                                                         11   failing to investigate exculpatory evidence.
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                                                                         12                               LEGAL STANDARD
                                                                         13   I. Summary Judgment
                                                                         14        Summary judgment is properly granted when no genuine and
                                                                         15   disputed issues of material fact remain, and when, viewing the
                                                                         16   evidence most favorably to the non-moving party, the movant is
                                                                         17   clearly entitled to prevail as a matter of law.   Fed. R. Civ. P.
                                                                         18   56; Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986);
                                                                         19   Eisenberg v. Ins. Co. of N. Am., 815 F.2d 1285, 1288-89 (9th Cir.
                                                                         20   1987).
                                                                         21        The moving party bears the burden of showing that there is no
                                                                         22   material factual dispute.   Therefore, the court must regard as true
                                                                         23   the opposing party's evidence, if supported by affidavits or other
                                                                         24   evidentiary material.    Celotex, 477 U.S. at 324; Eisenberg, 815
                                                                         25   F.2d at 1289.   The court must draw all reasonable inferences in
                                                                         26   favor of the party against whom summary judgment is sought.
                                                                         27   Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,
                                                                         28                                     35
                                                                         1    587 (1986); Intel Corp. v. Hartford Accident & Indem. Co., 952 F.2d
                                                                         2    1551, 1558 (9th Cir. 1991).
                                                                         3         Material facts which would preclude entry of summary judgment
                                                                         4    are those which, under applicable substantive law, may affect the
                                                                         5    outcome of the case.   The substantive law will identify which facts
                                                                         6    are material.   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
                                                                         7    (1986).
                                                                         8         Where the moving party does not bear the burden of proof on an
                                                                         9    issue at trial, the moving party may discharge its burden of
                                                                         10   showing that no genuine issue of material fact remains by
                                                                         11   demonstrating that "there is an absence of evidence to support the
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                                                                         12   nonmoving party's case."    Celotex, 477 U.S. at 325.   The moving
                                                                         13   party is not required to produce evidence showing the absence of a
                                                                         14   material fact on such issues, nor must the moving party support its
                                                                         15   motion with evidence negating the non-moving party's claim.    Id.;
                                                                         16   see also Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 885 (1990);
                                                                         17   Bhan v. NME Hosps., Inc., 929 F.2d 1404, 1409 (9th Cir. 1991),
                                                                         18   cert. denied, 502 U.S. 994 (1991).     If the moving party shows an
                                                                         19   absence of evidence to support the non-moving party's case, the
                                                                         20   burden then shifts to the opposing party to produce "specific
                                                                         21   evidence, through affidavits or admissible discovery material, to
                                                                         22   show that the dispute exists."   Bhan, 929 F.2d at 1409.    A complete
                                                                         23   failure of proof concerning an essential element of the non-moving
                                                                         24   party's case necessarily renders all other facts immaterial.
                                                                         25   Celotex, 477 U.S. at 323.
                                                                         26        Where the moving party bears the burden of proof on an issue
                                                                         27   at trial, it must, in order to discharge its burden of showing that
                                                                         28                                     36
                                                                         1    no genuine issue of material fact remains, make a prima facie
                                                                         2    showing in support of its position on that issue.    UA Local 343 v.
                                                                         3    Nor-Cal Plumbing, Inc., 48 F.3d 1465, 1471 (9th Cir. 1994).        That
                                                                         4    is, the moving party must present evidence that, if uncontroverted
                                                                         5    at trial, would entitle it to prevail on that issue.    Id.; see also
                                                                         6    Int’l Shortstop, Inc. v. Rally's, Inc., 939 F.2d 1257, 1264-65 (5th
                                                                         7    Cir. 1991).    Once it has done so, the non-moving party must set
                                                                         8    forth specific facts controverting the moving party's prima facie
                                                                         9    case.    UA Local 343, 48 F.3d at 1471.   The non-moving party's
                                                                         10   "burden of contradicting [the moving party's] evidence is not
                                                                         11   negligible."    Id.   This standard does not change merely because
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                                                                         12   resolution of the relevant issue is "highly fact specific."      Id.
                                                                         13   II. Constitutional Claims Under 42 U.S.C. § 1983
                                                                         14           Title 42 U.S.C. § 1983 "provides a cause of action for the
                                                                         15   'deprivation of any rights, privileges, or immunities secured by
                                                                         16   the Constitution and laws' of the United States."    Wilder v.
                                                                         17   Virginia Hosp. Ass'n, 496 U.S. 498, 508 (1990) (quoting 42 U.S.C.
                                                                         18   § 1983).    Section 1983 is not itself a source of substantive
                                                                         19   rights, but merely provides a method for vindicating federal rights
                                                                         20   elsewhere conferred.    Graham v. Connor, 490 U.S. 386, 393-94
                                                                         21   (1989).    In order to state a claim under § 1983, Plaintiffs must
                                                                         22   allege two elements:    (1) the violation of a right secured by the
                                                                         23   Constitution or laws of the United States, and (2) the alleged
                                                                         24   violation was committed by a person acting under the color of State
                                                                         25   law.    West v. Atkins, 487 U.S. 42, 48 (1988)(citations omitted).
                                                                         26           An individual defendant is liable for money damages under
                                                                         27   § 1983 only if the defendant personally participated in or
                                                                         28                                      37
                                                                         1    otherwise proximately caused the unconstitutional deprivations of
                                                                         2    which the plaintiff complains.   Leer v. Murphy, 844 F.2d 628, 634
                                                                         3    (9th Cir. 1988).   To establish individual liability, a plaintiff
                                                                         4    must allege one of the following: (1) the defendant personally
                                                                         5    participated in or ordered the constitutional violation; (2) the
                                                                         6    defendant, acting in a supervisory capacity, failed to train
                                                                         7    properly or supervise personnel, resulting in the violation;
                                                                         8    (3) the defendant was responsible for an official policy or custom
                                                                         9    which caused the violation; or (4) the defendant knew of the
                                                                         10   violation and failed to prevent it.   Taylor v. List, 880 F.2d 1040,
                                                                         11   1045 (9th Cir. 1989); Ybarra v. Reno Thunderbird Mobile Home, 723
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                                                                         12   F.2d 675, 680 (9th Cir. 1984).
                                                                         13                      PRELIMINARY PROCEDURAL MATTERS
                                                                         14   I. Motion To Strike
                                                                         15        Citing Kennedy v. Allied Mut. Ins. Co., 952 F.2d 262, 266 (9th
                                                                         16   Cir. 1991), Foster v. Arcata Assocs., 772 F.2d 1453, 1462 (9th Cir.
                                                                         17   1985) and Radobenko v. Automated Equip. Corp., 520 F.2d 540, 543-33
                                                                         18   (9th Cir. 1975), Plaintiffs move to strike Hendrix' and Sanders'
                                                                         19   declaration statements that they did not learn of the November 7,
                                                                         20   1990 Ricard confession until May, 1991, on the ground that these
                                                                         21   statements contradict their prior deposition testimony.    Hendrix
                                                                         22   and Sanders have not filed an opposition to this motion.
                                                                         23        In Radobenko, the Ninth Circuit held that a party who had been
                                                                         24   examined at length by deposition could not create an issue of fact
                                                                         25   on a motion for summary judgment by submitting an affidavit
                                                                         26   contradicting his own prior testimony because this would greatly
                                                                         27   diminish the utility of summary judgment as a method for screening
                                                                         28                                    38
                                                                         1    sham issues of fact.    Kennedy, 952 F.2d at 266 (citing Radobenko,
                                                                         2    520 F.2d at 543-44)).   In Kennedy, the Ninth Circuit clarified that
                                                                         3    the rule enunciated in Radobenko does not automatically dispose of
                                                                         4    every case in which a contradictory affidavit is submitted to
                                                                         5    explain portions of prior deposition testimony and that, before
                                                                         6    striking a declaration, the district court must make a factual
                                                                         7    finding that the contradiction was actually a sham.   Id. at 266-67.
                                                                         8         As explained above, at Sanders' 2001 deposition given in the
                                                                         9    habeas corpus case, he stated that he received the information
                                                                         10   about the November 7, 1990 Ricard confession within a day or two
                                                                         11   after November 7, 1990 and that he immediately turned the tape over
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                                                                         12   to Butterworth.   In his June 2, 2005 declaration, Sanders states
                                                                         13   that he first learned of the Ricard confession in May, 1991 from
                                                                         14   Butterworth.   The statement in Sanders' declaration does not
                                                                         15   explain or clarify his deposition testimony; it directly
                                                                         16   contradicts it and its only purpose would be to create a sham
                                                                         17   dispute of fact to survive summary judgment.   Therefore, the motion
                                                                         18   to strike this statement is granted.
                                                                         19        At Hendrix’ January 18, 2005 deposition, he testified that he
                                                                         20   received the information about the Ricard confession from Sanders
                                                                         21   sometime after November, 1990, and that after Sanders told him
                                                                         22   about the confession, they spent months attempting to locate Ricard
                                                                         23   to ask him questions about the Shannon homicide.
                                                                         24        In his June 2, 2005 declaration, Hendrix states that he
                                                                         25   learned of the Ricard tape from Sanders, who had learned of it from
                                                                         26   Butterworth.   Hendrix also testified that he did not investigate
                                                                         27   the confession.
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                                                                         1            Hendrix’ declaration statement that he learned of Ricard’s
                                                                         2    confession from Sanders does not contradict his prior deposition
                                                                         3    testimony; therefore it is not stricken.      However, his declaration
                                                                         4    statement that Sanders learned of the tape from Butterworth is
                                                                         5    inadmissible hearsay and it is stricken on this basis.      Hendrix’
                                                                         6    declaration statement that he did not investigate the confession
                                                                         7    directly contradicts his deposition testimony; it does not clarify
                                                                         8    or explain his testimony.    Therefore, this statement is stricken.
                                                                         9            Plaintiffs also move to strike Sanders’ declaration that he
                                                                         10   believed the Ricard confession to be false because gang members
                                                                         11   often confessed to crimes they didn’t commit to create doubt about
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                                                                         12   the original suspect’s role in the crime.      Sanders Dec. at ¶ 12.
                                                                         13   Plaintiffs point to Sanders’ 2001 deposition in the habeas case,
                                                                         14   where the question was put to him, “Did you ever have a gang member
                                                                         15   confess to a crime he didn’t do?”       Sanders responded, “Confess to
                                                                         16   crime he didn’t . . . no.    It’s hard enough to get them on the
                                                                         17   crimes that they do.”    Balogh Reply Dec., Ex. 63, Sanders 2001
                                                                         18   Depo. at 96.    However, in a declaration dated June 24, 1991,
                                                                         19   submitted in Tennison’s new trial motion, Sanders stated that
                                                                         20   Ricard’s confession, “which is totally incapable of independent
                                                                         21   corroboration, does little more than represent an effort to confuse
                                                                         22   and pervert the criminal justice system . . . members of the gangs
                                                                         23   will often attempt to manipulate the system to their collective
                                                                         24   advantage, even after one of their friends has been convicted.
                                                                         25   . . .    They know that a completely uncorroborated, factually flawed
                                                                         26   statement, even if made to a police officer, cannot properly be the
                                                                         27   basis for a criminal prosecution.”      Purcell Dec., Ex. 48, Sanders’
                                                                         28                                      40
                                                                         1    June 24, 1991 Dec. at 2-3.    Because Sanders made a statement in
                                                                         2    1991 that was similar to the one he made in his 2005 declaration,
                                                                         3    the 2005 statement is not a sham to survive summary judgment.
                                                                         4    Therefore, Plaintiffs’ motion to strike Sanders’ statement about
                                                                         5    gang members’ confessions is denied.
                                                                         6         Plaintiffs’ motion to strike is therefore GRANTED in part and
                                                                         7    DENIED in part.
                                                                         8    II. Request To Submit Statement of Facts
                                                                         9         In their reply brief, the Inspectors request leave to submit a
                                                                         10   statement of disputed and undisputed facts with citations to
                                                                         11   evidence, pursuant to Civil Local Rule 56-2(a).    They argue that
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                                                                         12   this is necessary because there are many misstatements of facts in
                                                                         13   Plaintiffs’ briefs.   A separate statement of facts is unnecessary:
                                                                         14   the Court looks at the evidence cited by the parties to support
                                                                         15   their arguments and determines the accuracy of the statements of
                                                                         16   fact in the briefs.   Therefore, the Inspectors’ request to submit a
                                                                         17   separate statement of disputed and undisputed facts is DENIED.
                                                                         18   III. Evidentiary Objections
                                                                         19        The Inspectors object to statements in Plaintiffs’ briefs as
                                                                         20   mischaracterizations of the evidence and object to various pieces
                                                                         21   of evidence.   The Court has reviewed these evidentiary objections
                                                                         22   and has not relied on any inadmissible evidence.   The Court will
                                                                         23   not discuss each objection individually.   To the extent that the
                                                                         24   Court has relied on evidence to which the Inspectors object, such
                                                                         25   evidence has been found admissible and the objections are
                                                                         26   overruled.
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                                                                         28                                     41
                                                                         1    IV. Effect of Habeas Corpus Order
                                                                         2         Citing Prudential Real Estate Affiliates, Inc. v. PPR Realty,
                                                                         3    Inc., 204 F.3d 867, 877 (9th Cir. 2000), the Inspectors argue that
                                                                         4    the Court’s August 26, 2003 Habeas Order has no preclusive effect
                                                                         5    in this action because the Inspectors were not parties to the
                                                                         6    habeas case and were not in privity with the respondent in the
                                                                         7    habeas case or the State of California.    Plaintiffs do not respond
                                                                         8    to this argument.
                                                                         9         The Inspectors are correct that the doctrine of collateral
                                                                         10   estoppel that precludes the relitigation of issues previously
                                                                         11   decided requires that the parties in the second action be the same
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                                                                         12   as or in privity with the parties in the prior proceeding.    The
                                                                         13   Inspectors also are correct that they were not in privity with the
                                                                         14   respondent in the habeas case and that the habeas respondent did
                                                                         15   not present a good deal of the evidence submitted by the Inspectors
                                                                         16   or make some of the arguments that the Inspectors make here.
                                                                         17        Therefore, the Court concludes that the findings and
                                                                         18   conclusions in the Habeas Order do not have any preclusive effect
                                                                         19   on the issues in this case.   However, in certain instances, the
                                                                         20   facts and arguments addressed in the Habeas Order are identical to
                                                                         21   those presented here.   In those instances, the Court may reach the
                                                                         22   same conclusions it did in the Habeas Order.
                                                                         23                                 DISCUSSION
                                                                         24        In their separate motions, Tennison and Goff move for partial
                                                                         25   summary adjudication on the liability and causation elements of
                                                                         26   their claims that the Inspectors suppressed three pieces of
                                                                         27   material, exculpatory evidence:   (1) Ricard’s taped confession;
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                                                                         1    (2) Smith’s statements corroborating Ricard’s confession; and
                                                                         2    (3) the Inspectors’ request for $2,500 from the SFPD’s SWP to pay a
                                                                         3    witness in the Shannon murder case.       Butterworth moves for summary
                                                                         4    judgment on the grounds that he is absolutely or qualifiedly immune
                                                                         5    from liability on all of Plaintiffs’ claims.      The Inspectors move
                                                                         6    for summary judgment on all of Plaintiffs’ causes of action on the
                                                                         7    grounds that: (1) there is no evidence that they violated
                                                                         8    Plaintiffs’ rights by suppressing material information; (2) there
                                                                         9    is no evidence that they fabricated witness testimony; and (3) they
                                                                         10   are either absolutely or qualifiedly immune from liability for all
                                                                         11   alleged constitutional violations.
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                                                                         12   I. Butterworth's Motion for Summary Judgment
                                                                         13        Butterworth argues that he is entitled to summary judgment
                                                                         14   because at all relevant times he was acting in the role of a
                                                                         15   prosecutor and thus is entitled to absolute immunity.      He argues,
                                                                         16   in the alternative, that he is entitled to qualified immunity on
                                                                         17   all claims.    Tennison's opposition addresses only Butterworth's
                                                                         18   conduct in questioning Pauline on April 22, 23, and 24, 1990.
                                                                         19   Goff's opposition addresses only Butterworth's failure to disclose
                                                                         20   the Ricard confession to him.       Therefore, the Court grants
                                                                         21   Butterworth's motion for summary judgment on all of Plaintiffs’
                                                                         22   other claims.
                                                                         23        A. The Questioning of Pauline
                                                                         24                1. Absolute Immunity
                                                                         25        "An official seeking absolute immunity bears the burden of
                                                                         26   showing that such immunity is justified for the function in
                                                                         27   question."    Genzler v. Longanbach, 410 F.3d 630, 636 (9th Cir.
                                                                         28                                        43
                                                                         1    2005) (quoting Burns v. Reed, 500 U.S. 478, 486 (1991)).      The
                                                                         2    presumption is that qualified, rather than absolute, immunity is
                                                                         3    sufficient to protect government employees in the performance of
                                                                         4    their official duties.   Milstein v. Cooley, 257 F.3d 1004, 1008
                                                                         5    (9th Cir. 2001) (citing Burns, 500 U.S. at 486-87).
                                                                         6         A prosecutor performing an advocate's role is an officer of
                                                                         7    the court entitled to absolute immunity.    Buckley v. Fitzsimmons,
                                                                         8    509 U.S. 259, 272-73 (1993).    Prosecutors therefore are absolutely
                                                                         9    immune from liability for their conduct as "advocates" during the
                                                                         10   initiation of a criminal case and its presentation at trial.        Id.;
                                                                         11   Imbler v. Pachtman, 424 U.S. 409, 430-31 (1976) (prosecutor
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                                                                         12   entitled to absolute immunity from suit alleging that he knowingly
                                                                         13   used perjured testimony and suppressed material exculpatory
                                                                         14   evidence at trial); Burns, 500 U.S. at 490-91 & n.6 (prosecutors
                                                                         15   absolutely immune for their conduct before grand juries and in
                                                                         16   presenting evidence at probable-cause hearings for a search
                                                                         17   warrant).
                                                                         18        Prosecutors are entitled only to qualified, not absolute,
                                                                         19   immunity when they perform administrative or investigatory, rather
                                                                         20   than advocacy, functions.     Kalina v. Fletcher, 522 U.S. 118, 122-31
                                                                         21   (1997).   Thus, in determining immunity, the court examines the
                                                                         22   nature of the function performed, not the identity of the actor who
                                                                         23   performed it.   Id. at 127.    Absolute immunity requires that the
                                                                         24   activities at issue be “intimately associated with the judicial
                                                                         25   phase of the criminal process.”    Imbler, 424 U.S. at 430.
                                                                         26        Prosecutors are not acting as advocates, and therefore are not
                                                                         27   entitled to absolute immunity, before they have probable cause to
                                                                         28                                      44
                                                                         1    have anyone arrested.   Buckley, 509 U.S. at 274; Herb Hallman
                                                                         2    Chevrolet, Inc. v. Nash-Holmes, 169 F.3d 636, 643 (9th Cir. 1999).
                                                                         3    However, even after probable cause has been established,
                                                                         4    prosecutors are absolutely immune only for quasi-judicial
                                                                         5    functions, not investigatory or administrative actions.     Broam v.
                                                                         6    Bogan, 320 F.3d 1023, 1030-31 (9th Cir. 2003); Genzler, 410 F.3d at
                                                                         7    638.
                                                                         8           Activities in preparation for trial, such as the interview of
                                                                         9    witnesses, may be investigatory or advocatory in nature.      Genzler,
                                                                         10   410 F.3d at 638.   The timing of the prosecutor's conduct is a
                                                                         11   relevant, but not determinative, factor.   Id. at 639-40.
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                                                                         12          Tennison presents several grounds for his contention that
                                                                         13   Butterworth was acting as an investigator when questioning Pauline
                                                                         14   and thus is not entitled to absolute immunity.   First, citing
                                                                         15   Buckley, 509 U.S. at 274, Tennison argues that Butterworth did not
                                                                         16   have probable cause to believe that Tennison was involved in the
                                                                         17   Shannon homicide when he questioned Pauline.   Tennison bases this
                                                                         18   on the fact that the November 28, 1989 warrant for Tennison’s
                                                                         19   arrest was predicated upon Hendrix’ affidavit in which Hendrix
                                                                         20   swore that Pauline corroborated Masina’s account of the shooting
                                                                         21   incident.   See Balogh Reply Dec., Ex. 57, Arrest Warrant for
                                                                         22   Tennison and Hendrix Affidavit.   Tennison argues that Hendrix’
                                                                         23   affidavit was false because Pauline’s statement to the police was
                                                                         24   inconsistent with Masina’s story.
                                                                         25          Pursuant to Buckley, 509 U.S. at 274, if at the time
                                                                         26   Butterworth interviewed Pauline probable cause to arrest Tennison
                                                                         27   was lacking, Butterworth was acting as an investigator, and not as
                                                                         28                                     45
                                                                         1    an advocate.
                                                                         2         The Court concludes that on April 22, 1990, there was probable
                                                                         3    cause to arrest Tennison.   As noted by Butterworth, the information
                                                                         4    in Hendrix’ affidavit regarding Pauline’s corroboration of Masina’s
                                                                         5    story, which Tennison states was false, was presented to the court
                                                                         6    in both Tennison’s and Goff’s probable cause hearings.   See Achiron
                                                                         7    Reply Dec., Ex. D, Tennison Preliminary Hearing; Ex. C, Goff
                                                                         8    Preliminary Hearing.   At Tennison’s preliminary hearing only Masina
                                                                         9    testified, but the court heard testimony that Pauline had recanted
                                                                         10   and that Masina had spoken to her after she recanted.    At Goff’s
                                                                         11   preliminary hearing, Butterworth called only Masina, but Goff
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                                                                         12   called Pauline as a defense witness.   Pauline was examined on the
                                                                         13   discrepancies between her testimony and Masina’s, her recantation
                                                                         14   and her telephone conversation with Masina regarding her
                                                                         15   recantation.   The court, in both cases, found probable cause.
                                                                         16        Because the accuracy of the information contained in Hendrix’
                                                                         17   arrest warrant affidavit was tested in court and the court found
                                                                         18   probable cause, Tennison’s argument that Hendrix’ affidavit was
                                                                         19   insufficient to establish probable cause to arrest is unpersuasive.
                                                                         20        Tennison next argues that, even if there was probable cause
                                                                         21   for his initial arrest, there was no probable cause after Pauline
                                                                         22   recanted on April 22, 1990.   Tennison cites Butterworth’s
                                                                         23   deposition at p.p. 327-328 to establish that, after Pauline
                                                                         24   recanted, Butterworth conceded that he needed Pauline to establish
                                                                         25   probable cause.   However, Butterworth did not concede this at his
                                                                         26   deposition.    Butterworth stated that he had to cancel the
                                                                         27   preliminary hearing scheduled for April 23, 1990 because Pauline’s
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                                                                         1    recantation “raised some question in my mind as to how valuable a
                                                                         2    witness she was going to be and whether I wanted to rely upon her
                                                                         3    for a probable cause finding.   And if she were to testify at a
                                                                         4    preliminary hearing and recant, the only way I would have gotten a
                                                                         5    holding would be to have impeached her with her prior inconsistent
                                                                         6    statement.   And I wasn’t comfortable doing that, given the record
                                                                         7    of the 707 hearing. . . . I know that I wasn’t comfortable
                                                                         8    proceeding in the face of her recantation.   And I didn’t have any
                                                                         9    other witnesses who were in a position to make an identification,
                                                                         10   so it wasn’t really a difficult call at that point [to cancel the
                                                                         11   preliminary hearing].”   Wong Dec., Ex. O, Butterworth Depo. at 327-
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                                                                         12   328.   Thus, Butterworth did not cancel the preliminary hearing
                                                                         13   because he believed probable cause was lacking, but because Masina
                                                                         14   was unavailable as a witness.   When Masina was available as a
                                                                         15   witness, she alone testified at Tennison’s rescheduled probable
                                                                         16   cause hearing.   Tennison’s argument that probable cause was
                                                                         17   extinguished by Pauline’s recantation is not persuasive.
                                                                         18          Tennison argues that even if probable cause did exist during
                                                                         19   Butterworth’s questioning of Pauline, Butterworth was acting as an
                                                                         20   investigator because his purpose in interviewing Pauline was to
                                                                         21   persuade Pauline to change her story so that it would be consistent
                                                                         22   with Masina’s.
                                                                         23          As discussed in Gensler, 410 F.3d at 639, timing is an
                                                                         24   important element in determining whether the prosecutor is engaging
                                                                         25   in investigatory police activity or acting as a prosecutor.     Here,
                                                                         26   the timing weighs in favor of concluding that Butterworth was
                                                                         27   acting as a prosecutor rather than an investigator.   When Pauline
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                                                                         1    came to meet with Butterworth on April 22, 1990, the judicial
                                                                         2    proceedings against Tennison were underway.   The section 707
                                                                         3    hearing regarding Tennison was held in March and April, 1990, with
                                                                         4    Pauline as a witness.   Tennison was arrested on April 5, 1990 and
                                                                         5    his preliminary hearing was set for April 23, 1990.   That
                                                                         6    Butterworth met with Pauline immediately before Tennison’s
                                                                         7    preliminary hearing indicates that Butterworth was meeting with her
                                                                         8    in his role as a prosecutor marshaling evidence, not as an
                                                                         9    investigator looking for clues and evidence to establish probable
                                                                         10   cause.
                                                                         11        Tennison argues that after Pauline recanted and Butterworth
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                                                                         12   continued interviewing her, his questioning was investigative in
                                                                         13   nature and coerced her to change her testimony.
                                                                         14        Intimidating and coercing a witness to change her testimony
                                                                         15   are not advocacy and are not entitled to absolute immunity.     Moore
                                                                         16   v. Valder, 65 F.3d 189, 194 (D.C. Cir. 1996) (quoted with approval
                                                                         17   in Gensler, 410 F.3d at 638).   Intimidating a witness to change
                                                                         18   testimony is “a misuse of investigative techniques legitimately
                                                                         19   directed at exploring whether witness testimony is truthful and
                                                                         20   complete and whether the government has acquired all incriminating
                                                                         21   evidence.”   Id.
                                                                         22        Although Pauline testified that Butterworth, as well as
                                                                         23   Hendrix and Masina, told her what to say at the trial, she
                                                                         24   explained that Butterworth communicated this to her by not wanting
                                                                         25   to hear her recantation, by not listening to her.   Although she
                                                                         26   stated that Butterworth yelled at her, she also indicated she
                                                                         27   interpreted Butterworth’s behavior toward her to be like a parent
                                                                         28                                    48
                                                                         1    talking to a child.    Pauline’s testimony does not provide evidence
                                                                         2    that Butterworth coerced or intimidated her.
                                                                         3         Taking the evidence in the light most favorable to Plaintiffs,
                                                                         4    Plaintiffs have failed to raise a triable issue of material fact
                                                                         5    that Butterworth was not acting in his capacity as prosecutor at
                                                                         6    all times during his interaction with Pauline on April 20 through
                                                                         7    April 22, 1990 and thus is entitled to absolute immunity.
                                                                         8    Therefore, Butterworth’s motion for summary judgment on Tennison’s
                                                                         9    claim regarding Pauline’s interviews on April 20 through April 22,
                                                                         10   1990 is GRANTED.    Nonetheless, the Court discusses whether, even if
                                                                         11   Butterworth was not acting as a prosecutor, but was acting as an
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                                                                         12   investigator, he is entitled to qualified immunity.
                                                                         13                2. Qualified Immunity
                                                                         14        The defense of qualified immunity protects "government
                                                                         15   officials . . . from liability for civil damages insofar as their
                                                                         16   conduct does not violate clearly established statutory or
                                                                         17   constitutional rights of which a reasonable person would have
                                                                         18   known."   Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982).    The
                                                                         19   threshold question is whether, if all factual disputes were
                                                                         20   resolved in favor of the party asserting the injury, the evidence
                                                                         21   would show the defendant's conduct violated a constitutional right.
                                                                         22   Saucier v. Katz, 533 U.S. 194, 201 (2001).     “If no constitutional
                                                                         23   right would have been violated were the allegations established,
                                                                         24   there is no necessity for further inquiries concerning qualified
                                                                         25   immunity.”    Id.   On the other hand, if a violation could be made
                                                                         26   out on the allegations, the next step is to ask whether the
                                                                         27   constitutional right in issue was clearly established.    Id.      The
                                                                         28                                        49
                                                                         1    question here is whether it would be clear to a reasonable officer
                                                                         2    that his conduct was unlawful in the situation he confronted.     Id.
                                                                         3    If the law did not put the officer on notice that his conduct would
                                                                         4    be clearly unlawful, summary judgment based on qualified immunity
                                                                         5    is appropriate.    Id.
                                                                         6         The Ninth Circuit engages in a two-part test to determine if
                                                                         7    the right was clearly established at the time of the allegedly
                                                                         8    impermissible conduct.    Franklin v. Fox, 312 F.3d 423, 437 (9th
                                                                         9    Cir. 2002).    First, it must be determined if the law that governs
                                                                         10   the official’s conduct was clearly established.    Id.   It is not
                                                                         11   necessary that a prior decision rule "the very action in question"
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                                                                         12   unlawful for a right to be clearly established.    Anderson v.
                                                                         13   Creighton, 483 U.S. 635, 640 (1987).    Indeed, some wrongs are self-
                                                                         14   evident and a “right can be clearly established on the basis of
                                                                         15   ‘common sense.’”    Lee v. Gregory, 363 F.3d 931, 935 (9th Cir.
                                                                         16   2004).   The plaintiff bears the burden of proving that the right
                                                                         17   was clearly established at the time of the allegedly impermissible
                                                                         18   conduct.    Maraziti v. First Interstate Bank, 953 F.2d 520, 523 (9th
                                                                         19   Cir. 1992).
                                                                         20       The next question is whether, under that clearly established
                                                                         21 law, a reasonable official could have believed his conduct was
                                                                         22 lawful.      Act Up!/Portland v. Bagley, 988 F.2d 868, 871-72 (9th Cir.
                                                                         23 1993).     The defendant bears the burden of establishing that his or
                                                                         24 her actions were reasonable, Doe v. Petaluma City Sch. Dist., 54
                                                                         25 F.3d 1447, 1450 (9th Cir. 1995), and the defendant's good faith or
                                                                         26 subjective belief in the legality of his or her actions is
                                                                         27 irrelevant.     Alford v. Haner, 333 F.3d 972, 978-79 (9th Cir. 2003).
                                                                         28                                      50
                                                                         1      Thus, the Court must decide first whether, if the facts
                                                                         2 Plaintiffs allege are true, Butterworth committed a constitutional
                                                                         3 violation.   If so, the Court must then decide if the law was clearly
                                                                         4 established at the time of the conduct at issue, and if so, whether
                                                                         5 Butterworth’s conduct was objectively reasonable.
                                                                         6      Tennison contends that Butterworth’s conduct in regard to
                                                                         7 Pauline violated his constitutional right to be free from criminal
                                                                         8 charges based on deliberately fabricated false evidence.
                                                                         9      Individuals have a constitutional due process right to be free
                                                                         10 from criminal charges based upon deliberately fabricated false
                                                                         11 evidence.   Devereaux v. Abbey, 263 F.3d 1070, 1074-75 (9th Cir.
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                                                                         12 2001) (en banc).   To prevail on this claim, a plaintiff, at a
                                                                         13 minimum, must show that (1) the officer continued his investigation
                                                                         14 despite the fact he knew or should have known that the suspect was
                                                                         15 innocent or (2) the officer used investigative techniques that were
                                                                         16 so coercive and abusive that he knew or should have known that they
                                                                         17 would yield false information.    Id. at 1076; Cunningham v. Perez,
                                                                         18 345 F.3d 802, 811-12 (9th Cir. 2003) (that officer continued to
                                                                         19 interview suspected child sex abuse victims after they initially
                                                                         20 denied abuse not so coercive or abusive that he knew or should have
                                                                         21 known he would receive false information).    There is no
                                                                         22 constitutional right to have witnesses interviewed in a particular
                                                                         23 manner or to have the investigation carried on in a particular way.
                                                                         24 Devereaux, 263 F.3d at 1075.     Therefore, suggestive interview
                                                                         25 tactics alone do not amount to a constitutional violation.    Gausvik
                                                                         26 v. Perez, 345 F.3d 813, 817 (9th Cir. 2003) (officer’s continued
                                                                         27 questioning of alleged sexual abuse victims after victims initially
                                                                         28                                     51
                                                                         1 denied abuse and telling alleged victim she could not leave until
                                                                         2 she admitted abuse not so coercive and abusive that officer knew or
                                                                         3 should have known that he would receive false information).
                                                                         4      In regard to the first Devereaux prong, after Pauline recanted,
                                                                         5 it was incumbent upon Butterworth to gather information to determine
                                                                         6 whether Pauline or Masina was being truthful.     Furthermore, although
                                                                         7 Pauline recanted, it does not necessarily follow that, on this
                                                                         8 basis, Butterworth knew or should have know that Tennison was
                                                                         9 innocent.   As noted above, Butterworth dismissed Tennison’s case
                                                                         10 after Pauline’s recantation because Masina, the only other witness,
                                                                         11 was in Samoa, and thus was not available to testify at Tennison’s
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                                                                         12 preliminary hearing, which was scheduled for the next day.   Because
                                                                         13 Pauline never stated that she saw Goff at the crime scene, she was
                                                                         14 not needed as a witness at Goff’s preliminary hearing, and her
                                                                         15 recantation was not relevant to his case.   Plaintiffs have produced
                                                                         16 no evidence to demonstrate that Butterworth knew or should have
                                                                         17 known that Tennison was innocent at that point and should not have
                                                                         18 continued investigating.   Thus, the first Devereaux prong does not
                                                                         19 apply.
                                                                         20     In regard to the second Devereaux prong, the evidence shows
                                                                         21 that when Pauline recanted, Butterworth raised his voice and
                                                                         22 confronted her.   However, Pauline testified that Butterworth’s
                                                                         23 frustration with her reminded her of how a parent would reprimand a
                                                                         24 child and that Butterworth never told her what to say.   Furthermore,
                                                                         25 Butterworth’s contact with Pauline was relatively brief.   He met
                                                                         26 with her for approximately half an hour on April 22nd, half an hour
                                                                         27 on April 23rd and a few minutes on April 24th.   Almost the entire
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                                                                         1 interview on April 23rd was recorded and nothing in the interview
                                                                         2 was coercive.   Therefore, assuming the facts Tennison alleges are
                                                                         3 true, and taking them in the light most favorable to Tennison, the
                                                                         4 Court finds that Tennison has failed to show that Butterworth
                                                                         5 violated his constitutional right to be free from being charged on
                                                                         6 the basis of deliberately fabricated evidence.   Therefore,
                                                                         7 Butterworth is entitled to summary judgment on the basis of
                                                                         8 qualified as well as absolute immunity on this claim.
                                                                         9      Even if Tennison had established a constitutional violation,
                                                                         10 Butterworth would be entitled to qualified immunity.    At the time of
                                                                         11 the events at issue, the law was clearly established.   However, a
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                                                                         12 reasonable person could have believed that the actions taken by
                                                                         13 Butterworth, under the circumstances, were lawful.
                                                                         14     Thus, summary judgment is GRANTED in Butterworth’s favor on
                                                                         15 Tennison’s claim on the basis of qualified as well as absolute
                                                                         16 immunity.
                                                                         17     D. Failure to Provide Ricard Confession to Goff
                                                                         18     Butterworth argues that he is entitled to absolute
                                                                         19 prosecutorial immunity for his failure to turn Ricard’s confession
                                                                         20 over to Goff after Goff’s conviction.   Relying on Houston v. Partee,
                                                                         21 978 F.2d 362, 367 (7th Cir. 1992), Goff argues that Butterworth is
                                                                         22 not shielded by absolute immunity because he was no longer involved
                                                                         23 in Goff’s prosecution when he learned of the Ricard confession
                                                                         24     A prosecutor may be absolutely immune for post-conviction
                                                                         25 conduct, but only if the conduct is an exercise of prosecutorial
                                                                         26 discretion, and is not purely investigatory or administrative.
                                                                         27 Broam, 320 F.3d at 1030-31; see Carter v. Burch, 34 F.3d 257 (4th
                                                                         28                                  53
                                                                         1 Cir. 1994) (upholding absolute immunity for prosecutor who withheld
                                                                         2 exculpatory evidence while handling defendant's post-conviction
                                                                         3 motions and direct appeal).
                                                                         4      Butterworth argues that, on May 17, 1991, the date he became
                                                                         5 aware of the Ricard confession, he was opposing Tennison’s motion
                                                                         6 for a new trial and therefore was acting as a prosecutor.     This may
                                                                         7 be true in regard to Tennison’s post-conviction proceedings, but it
                                                                         8 does not establish that Butterworth was acting as a prosecutor in
                                                                         9 regard to Goff’s post-conviction proceedings.    The cases against
                                                                         10 Tennison and Goff were consolidated for trial, but the post-trial
                                                                         11 proceedings were litigated separately:   Goff’s post-conviction new
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                                                                         12 trial motion was filed on October 19, 1990; it was denied on October
                                                                         13 31, 1990; on August 9, 1991, he filed an opening brief in his direct
                                                                         14 appeal of his conviction.   Because no post-conviction proceedings
                                                                         15 were pending in the trial court in Goff’s case at the time
                                                                         16 Butterworth received the tape of Ricard’s confession, Butterworth
                                                                         17 was not acting as a prosecutor in regard to Goff.   Because the
                                                                         18 Attorney General represents the people of the State on appeal, even
                                                                         19 though Goff’s appeal was pending, Butterworth would not have been
                                                                         20 involved in it.
                                                                         21     In Houston, the plaintiffs were convicted of committing the
                                                                         22 gang-related murder of Ronnie Bell.    Houston, 978 F.2d at 363.
                                                                         23 While the plaintiffs’ appeals were pending, certain State and
                                                                         24 federal prosecutors, including the one who had prosecuted the
                                                                         25 plaintiffs, learned during an investigation of the gang’s activities
                                                                         26 that the Bell murder had been committed by three other individuals,
                                                                         27 not by the plaintiffs.   Id. at 364.   None of the prosecutors
                                                                         28                                   54
                                                                         1 disclosed this information to the plaintiffs or their attorneys,
                                                                         2 even though they knew it was relevant to the plaintiffs’ pending
                                                                         3 appeals.     Id.   Four years after the plaintiffs’ conviction, the
                                                                         4 plaintiffs’ attorneys found out about the exculpatory evidence on
                                                                         5 their own and filed post-conviction petitions which were granted.
                                                                         6 Id. at 363, 365.      The plaintiffs sued the prosecutors.   The
                                                                         7 defendant prosecutors had not been involved in the plaintiffs’
                                                                         8 appeals.     Id. at 366.   The prosecutors asserted absolute immunity on
                                                                         9 the plaintiffs’ civil § 1983 claims against them on the ground that
                                                                         10 absolute immunity attached during the plaintiffs’ prosecution and
                                                                         11 continued indefinitely.    Id. at 365-66.    The court rejected this
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                                                                         12 argument and concluded that, at the time the defendant prosecutors
                                                                         13 learned about the exculpatory evidence, they were functioning as
                                                                         14 investigators, not as prosecutors, and thus were not entitled to
                                                                         15 absolute immunity.    Id. at 367.
                                                                         16         Butterworth argues that Houston is distinguishable because the
                                                                         17 prosecutors in that case were involved in a new investigation that
                                                                         18 led to the exculpatory information.      Butterworth points out that he
                                                                         19 was not acting as an investigator, but learned of the exculpatory
                                                                         20 evidence in his role as prosecutor in Tennison’s case.
                                                                         21         This argument is unavailing because, even if he was not acting
                                                                         22 as an investigator, neither was he acting as a prosecutor on Goff’s
                                                                         23 case.    Accordingly, Butterworth’s motion for summary judgment based
                                                                         24 upon absolute immunity is DENIED.    Butterworth does not move for
                                                                         25 summary judgment based on qualified immunity.
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                                                                          1 II. Plaintiffs’ and Inspectors’ Cross Motions for Summary
                                                                                Judgment on § 1983 Claims Based on Brady Violations
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                                                                                 Plaintiffs argue that they are entitled to summary adjudication
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                                                                            that the Inspectors deprived them of due process by violating their
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                                                                            Brady rights, and that this caused them damage. The Inspectors
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                                                                            argue that they are entitled to summary judgment on the ground that
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                                                                            there is no evidence that they violated Plaintiffs’ constitutional
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                                                                            rights and, if they did, they are absolutely or qualifiedly immune
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                                                                            from liability.
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                                                                                 A. Legal Standard for § 1983 Claims Based on Brady Violation
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                                                                                 In Brady v. Maryland, 373 U.S. 83, 87 (1963), the Supreme Court
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                                                                            held that "the suppression by the prosecution of evidence favorable
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                                                                            to an accused upon request violates due process where the evidence
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                                                                            is material either to guilt or to punishment, irrespective of the
                                                                         14
                                                                            good faith or bad faith of the prosecution." Id. The government
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                                                                            has a duty to disclose Brady material even if the defense fails to
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                                                                            ask for it. United States v. Agurs, 427 U.S. 97, 107 (1976). The
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                                                                            duty under Brady encompasses impeachment evidence as well as
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                                                                            exculpatory evidence. United States v. Bagley, 473 U.S. 667, 676
                                                                         19
                                                                            (1985). The government’s promise of a benefit to a witness must be
                                                                         20
                                                                            disclosed under Brady. Giglio v. United States, 405 U.S. 150, 154
                                                                         21
                                                                            (1972).
                                                                         22
                                                                                 In the criminal context, “[t]here are three components of a
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                                                                            true Brady violation: [t]he evidence at issue must be favorable to
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                                                                            the accused, either because it is exculpatory or because it is
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                                                                            impeaching; that evidence must have been suppressed by the State,
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                                                                            either willfully or inadvertently; and prejudice must have ensued.”
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                                                                         1 Strickler v. Greene, 527 U.S. 263, 281-82 (1999).      Evidence is
                                                                         2 material "if there is a reasonable probability that, had the
                                                                         3 evidence been disclosed to the defense, the result of the proceeding
                                                                         4 would have been different.”     Id. at 682.    The evidence need not be
                                                                         5 sufficient affirmatively to prove the defendant innocent; it need
                                                                         6 only be favorable and material.     Gantt v. Roe, 389 F.3d 908, 912
                                                                         7 (9th Cir. 2004).    Materiality is measured in terms of the collective
                                                                         8 effect of the suppressed material, not item by item.      Kyles v.
                                                                         9 Whitley, 514 U.S. 419, 436 (1995).
                                                                         10        If the omitted evidence creates a reasonable doubt that
                                                                                   did not otherwise exist, constitutional error has been
                                                                         11        committed. This means that the omission must be evaluated
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                                                                                   in the context of the entire record. If there is no
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                                                                         12        reasonable doubt about guilt whether or not the additional
                                                                                   evidence is considered, there is no justification for a
                                                                         13        new trial. On the other hand, if the verdict is already
                                                                                   of questionable validity, additional evidence of
                                                                         14        relatively minor importance might be sufficient to create
                                                                                   reasonable doubt.
                                                                         15
                                                                              Agurs, 427 U.S. at 112-13.
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                                                                                   The obligation to disclose under Brady “is the obligation of
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                                                                              the government, not just the obligation of the prosecutor.”     United
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                                                                              States v. Blanco, 392 F.3d 382, 393 (9th Cir. 2004).   The
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                                                                              prosecution has a duty to learn of any exculpatory evidence known to
                                                                         20
                                                                              others acting on the government's behalf.   Kyles v. Whitley, 514
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                                                                              U.S. 419, 437-38 (1995).   A prosecutor’s duty under Brady
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                                                                              necessarily requires the cooperation of other government agents who
                                                                         23
                                                                              might possess Brady material.   Blanco, 392 F.3d at 388.     Exculpatory
                                                                         24
                                                                              evidence cannot be kept out of the hands of the defense just because
                                                                         25
                                                                              the prosecutor does not have it, where an investigating agency does.
                                                                         26
                                                                              Id. at 393-94.
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                                                                         28                                     57
                                                                         1      In the criminal context, there is no intent requirement to
                                                                         2 establish a Brady claim; whether non-disclosure was negligent or by
                                                                         3 design, it is the responsibility of the prosecutor.    Brady, 373 U.S.
                                                                         4 at 87.
                                                                         5      The parties agree that to establish a civil rights claim based
                                                                         6 upon a Brady violation, the plaintiff must establish that the
                                                                         7 defendant intended to violate the plaintiff’s constitutional right.
                                                                         8 However, they disagree on the level of intent that must be
                                                                         9 established.   Citing Cunningham v. City of Wenatchee, 345 F.3d 802,
                                                                         10 812 (9th Cir. 2003), the Inspectors argue that bad faith must be
                                                                         11 shown and Plaintiffs argue that intent to violate a constitutional
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                                                                         12 right is all that is required.
                                                                         13     Cunningham was a civil rights case based, among other things,
                                                                         14 on the defendants’ failure to preserve and gather evidence that
                                                                         15 might have exonerated the plaintiff in his criminal case.   Id.      The
                                                                         16 Inspectors argue that Cunningham addressed a Brady claim, pointing
                                                                         17 to the court’s cursory summary in the beginning of the opinion that
                                                                         18 the complaint alleged that the defendants concealed exculpatory
                                                                         19 evidence.   See id. at 806.   However, in its analysis of this claim,
                                                                         20 the court described it as the defendants’ failure to preserve and
                                                                         21 gather potentially exculpatory evidence by failing to document
                                                                         22 interrogations, failing to keep a record of witnesses’ statements
                                                                         23 and failing to gather physical evidence.   Id. at 812.   The court
                                                                         24 then analyzed the claim under Arizona v. Youngblood, not Brady.      Id.
                                                                         25     The Supreme Court in Arizona v. Youngblood, 488 U.S. 51 (1988),
                                                                         26 distinguished the claim before it, that the government lost evidence
                                                                         27 that could have been exculpatory, from a Brady claim, concluding
                                                                         28                                    58
                                                                         1 that a Youngblood claim, unlike a Brady claim, requires a showing of
                                                                         2 bad faith.     Youngblood, 488 U.S. at 57.    The Supreme Court
                                                                         3 explained:
                                                                         4          The Due Process Clause of the Fourteenth Amendment, as
                                                                                    interpreted in Brady, makes the good or bad faith of the
                                                                         5          State irrelevant when the State fails to disclose to the
                                                                                    defendant material exculpatory evidence. But we think the
                                                                         6          Due Process Clause requires a different result when we
                                                                                    deal with the failure of the State to preserve evidentiary
                                                                         7          material of which no more can be said than it could have
                                                                                    been subjected to tests, the results of which might have
                                                                         8          exonerated the defendant.
                                                                              Id.
                                                                         9
                                                                                    Therefore, Cunningham does not support the Inspectors’
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                                                                              contention that the Ninth Circuit requires bad faith to establish a
                                                                         11
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                                                                              § 1983 claim based on a Brady violation.
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                                                                                    The Inspectors also rely on Daniels v. Williams, 474 U.S. 327
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                                                                              (1986), which held that “the Due Process Clause is simply not
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                                                                              implicated by a negligent act of an official causing unintended loss
                                                                         15
                                                                              of or injury to life, liberty, or property.”   Id. at 328 (emphasis
                                                                         16
                                                                              in original).   However, Daniels did not require bad faith for a due
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                                                                              process violation, it simply required more than negligence.
                                                                         18
                                                                                    Circuit courts are divided on the question of whether a
                                                                         19
                                                                              plaintiff must show bad faith to establish a civil rights claim
                                                                         20
                                                                              based on a Brady violation.   Compare McMillian v. Johnson, 88 F.3d
                                                                         21
                                                                              1554, 1567 (11th Cir. 1996) (in a § 1983 action, holding that
                                                                         22
                                                                              investigators have a duty to disclose under Brady, irrespective of
                                                                         23
                                                                              good or bad faith) with Jean v. Collins, 221 F.3d 656, 660 (4th Cir.
                                                                         24
                                                                              2000) (en banc) (in a § 1983 action, affirming, by an equally
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                                                                              divided court, district court dismissal of complaint on ground that
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                                                                              it merely alleged negligent conduct on the part of defendants and
                                                                         27
                                                                         28                                     59
                                                                         1 that bad faith was required to hold police officers liable for due
                                                                         2 process violations); and Villasana v. Wilhoit, 368 F.3d 976, 980
                                                                         3 (8th Cir. 2004) (in a § 1983 action, holding that bad faith required
                                                                         4 in Brady claims against law enforcement officials other than
                                                                         5 prosecutor).
                                                                         6      Because neither the Supreme Court nor the Ninth Circuit has
                                                                         7 addressed this issue, this Court must decide whether police
                                                                         8 investigators are civilly liable for Brady violations only if they
                                                                         9 act in bad faith.
                                                                         10     Based upon the fact that Brady makes the non-disclosure of
                                                                         11 exculpatory evidence a violation of the Due Process Clause
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                                                                         12 irrespective of the good or bad faith of the non-disclosing officer,
                                                                         13 this Court concludes that bad faith is not required to establish a
                                                                         14 civil Brady violation.    Based upon Daniels, 474 U.S. at 331, which
                                                                         15 held that a due process violation requires only a deliberate
                                                                         16 decision on the part of a government official to deprive a person of
                                                                         17 life, liberty or property, the Court concludes that, to prove a §
                                                                         18 1983 claim based on Brady against the Inspectors, Plaintiffs must
                                                                         19 establish only that they deliberately withheld exculpatory evidence
                                                                         20 from Butterworth.
                                                                         21     B. Suppression of Ricard Confession
                                                                         22     There is no dispute that the November 7, 1990 Ricard confession
                                                                         23 was exculpatory.    The Inspectors argue that Plaintiffs’ Brady claim
                                                                         24 based on the Ricard confession fails because the Inspectors lacked
                                                                         25 the requisite intent to deprive Plaintiffs of a constitutional
                                                                         26 right, because Plaintiffs knew of Ricard’s involvement and because
                                                                         27 the confession was not material in that it was inadmissible.
                                                                         28                                    60
                                                                         1              1. Inspectors’ State of Mind
                                                                         2         Questions involving state of mind are generally issues of fact
                                                                         3 that are inappropriate for summary judgment.     Braxton-Secret v. A.H.
                                                                         4 Robins Co., 769 F.2d 528, 531 (9th Cir. 1985).
                                                                         5         The Inspectors point out that there is no dispute that they
                                                                         6 first learned about Ricard’s confession second-hand, after
                                                                         7 Plaintiffs’ convictions, not as a result of their own investigation,
                                                                         8 and that there is no evidence that they took any action to hide the
                                                                         9 confession.    They argue that this establishes that they had no
                                                                         10 intent to deprive Plaintiffs of a fair trial by failing to inform
                                                                         11 Butterworth of the confession.   Plaintiffs contend that the
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                                                                         12 Inspectors’ knowledge of the Ricard confession and their failure to
                                                                         13 inform Butterworth of it is sufficient to show that the Inspectors
                                                                         14 intentionally withheld it.
                                                                         15        Disputed issues of material facts regarding whether the
                                                                         16 Inspectors acted intentionally prevent the granting of summary of
                                                                         17 adjudication of this issue to either party.    In Plaintiffs’ favor is
                                                                         18 the evidence that the Inspectors learned of the Ricard confession
                                                                         19 soon after it was made and did not turn it over to Butterworth.
                                                                         20        However, the Inspectors’ failure to turn over the tape to
                                                                         21 Butterworth may have been a negligent, rather than an intentional,
                                                                         22 act.   There is some evidence that the Inspectors did not intend to
                                                                         23 deny Plaintiffs the use of the tape.    The Inspectors may have
                                                                         24 thought, as Hendrix stated in his deposition, that Lewis or Gittens
                                                                         25 would deliver the tape to Butterworth.     Further, the Inspectors
                                                                         26 investigated the confession, which could be found inconsistent with
                                                                         27 an intent to conceal it.   Finally, there is no evidence that the
                                                                         28                                    61
                                                                         1 Inspectors took any affirmative acts to conceal the confession.
                                                                         2           2. Plaintiffs’ Knowledge of Ricard’s Involvement
                                                                         3      Citing United States v. Dupuy, 760 F.2d 1492, 1502 n.5 (9th
                                                                         4 Cir. 1985) and United States v. Aichele, 941 F.2d 761, 764 (9th Cir.
                                                                         5 1991), the Inspectors argue that Plaintiffs’ knowledge of Ricard’s
                                                                         6 alleged involvement in the Shannon murder precludes their Brady-
                                                                         7 based § 1983 claim.
                                                                         8      “Where defendants had within their knowledge the information by
                                                                         9 which they could have ascertained the supposed Brady material, there
                                                                         10 is no suppression by the government.”    Dupuy, 760 F.2d at 1502 n.5;
                                                                         11 Aichele, 941 F.2d at 764 (same).   If the government provides to the
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                                                                         12 defense the means of obtaining the exculpatory evidence, there is no
                                                                         13 Brady violation.   Dupuy, 760 F.2d at 1502, n.5.    A defendant cannot
                                                                         14 claim a Brady violation if his counsel was "aware of the essential
                                                                         15 facts enabling him to take advantage of any exculpatory evidence."
                                                                         16 United States v. Shaffer, 789 F.2d 682, 690 (9th Cir. 1986); see,
                                                                         17 e.g., United States v. Bracy, 67 F.3d 1421, 1428-29 (9th Cir. 1995)
                                                                         18 (where government discloses all information necessary for defense to
                                                                         19 discover alleged Brady material on its own, government is not guilty
                                                                         20 of suppressing evidence).   “Any allegation of suppression boils down
                                                                         21 to an assessment of what the State knows at trial in comparison to
                                                                         22 the knowledge held by the defense.”     Dupuy, 760 F.2d at 1502, n.5
                                                                         23 (quoting Giles v. Maryland, 386 U.S. 66, 96 (1967) (White, J.,
                                                                         24 concurring)).
                                                                         25     However, the availability of particular information through the
                                                                         26 defendant himself does not negate the government's duty to disclose.
                                                                         27 United States v. Howell, 231 F.3d 615, 625 (9th Cir. 2000).
                                                                         28                                    62
                                                                         1 "Defendants often mistrust their counsel, and even defendants who
                                                                         2 cooperate with counsel cannot always remember all of the relevant
                                                                         3 facts or realize the legal importance of certain occurrences."     Id.
                                                                         4 Therefore, defense counsel is entitled to plan trial strategy on the
                                                                         5 basis of full disclosure by the government, regardless of the
                                                                         6 defendant's knowledge or memory of the disclosed information.    Id.
                                                                         7      The Inspectors point to statements made by Tennison at the
                                                                         8 hearing on his motion for new trial and statements made by Goff at
                                                                         9 the § 4900 hearing showing that Plaintiffs knew of Ricard’s
                                                                         10 involvement in the murder before the Inspectors did.
                                                                         11     Tennison’s testimony at the hearing on his motion for new trial
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                                                                         12 indicates that, at least five months before the hearing, he had
                                                                         13 heard of Ricard’s involvement with the Shannon murder and shortly
                                                                         14 thereafter heard that Ricard had made a taped confession to the
                                                                         15 police.   Tennison testified that he told Adachi that he knew Ricard
                                                                         16 had committed the crime, but it is not clear that he told Adachi
                                                                         17 that he had heard that Ricard had confessed to the police on tape.
                                                                         18 Goff’s testimony at the § 4900 hearing indicates that he had heard
                                                                         19 Ricard brag about shooting Shannon and had told Melton this very
                                                                         20 soon after he had been charged with the murder.   There is no
                                                                         21 evidence that Goff or Melton knew that Ricard had given a taped
                                                                         22 confession to the police.
                                                                         23     Thus, the evidence shows that Plaintiffs and their attorneys
                                                                         24 suspected that Ricard was the shooter, before the trial in Goff’s
                                                                         25 case and before the new trial proceeding in Tennison’s case.
                                                                         26 However, it is not clear whether the attorneys knew of Ricard’s
                                                                         27 taped confession to the police.   The evidentiary value of Ricard’s
                                                                         28                                   63
                                                                         1 taped confession to the police, after being Mirandized, surpasses
                                                                         2 any evidence that Plaintiffs could have given about their knowledge
                                                                         3 of Ricard’s involvement.
                                                                         4      Disputed issues of material facts prevent summary adjudication
                                                                         5 for either side on the issue of whether the extent of Plaintiffs’
                                                                         6 attorneys’ knowledge of Ricard’s involvement excused the prosecution
                                                                         7 from disclosing the tape.
                                                                         8           3. Admissibility of the Ricard Confession
                                                                         9      The Inspectors move for summary adjudication that, even if they
                                                                         10 intentionally failed to inform Butterworth of Ricard’s confession,
                                                                         11 the confession was not material because it was inadmissible hearsay.
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                                                                         12     To support a claim under Brady, the withheld information must
                                                                         13 be material.   Brady, 373 U.S. at 87.   To be material, the withheld
                                                                         14 information, or evidence acquired through it, must be admissible.
                                                                         15 United States v. Kennedy, 890 F.2d 1056, 1059-60 (9th Cir. 1989).
                                                                         16     The Inspectors point out that the confession was not admitted
                                                                         17 at the hearing on Tennison’s motion for new trial because the
                                                                         18 confession was hearsay and Tennison’s attorney did not establish
                                                                         19 that Ricard was unavailable to testify, as required for the
                                                                         20 declaration-against-interest exception to the hearsay rule.    The
                                                                         21 Inspectors further argue that, even if Tennison’s attorney had been
                                                                         22 able to show Ricard was unavailable, the court of appeal found that
                                                                         23 Ricard’s confession was not sufficiently trustworthy to have
                                                                         24 qualified as a declaration against interest.
                                                                         25     Plaintiffs respond that the trial court and the court of appeal
                                                                         26 found Ricard’s confession to be inadmissible and untrustworthy
                                                                         27 because the courts did not have a full factual record before them.
                                                                         28                                   64
                                                                         1      In favor of Plaintiffs’ argument, at the time the trial court
                                                                         2 and the court of appeal made their decisions that Ricard’s
                                                                         3 confession to the police was inadmissible and unreliable, Smith’s
                                                                         4 corroborating statements were not part of the record.    In addition,
                                                                         5 if the confession had been turned over to Plaintiffs in a timely
                                                                         6 manner, Adachi’s interview of an anonymous person would not have
                                                                         7 been introduced into evidence to confuse matters.    However, as noted
                                                                         8 by the Inspectors, Ricard’s confession suffered from internal
                                                                         9 inconsistencies and, therefore, the courts might have found it
                                                                         10 inadmissible even with Smith’s statements and without the anonymous
                                                                         11 confession.
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                                                                         12     The Court finds that disputed issues of material fact preclude
                                                                         13 a determination of whether the State courts would have found
                                                                         14 Ricard’s confession admissible if all relevant facts had been timely
                                                                         15 disclosed.    Therefore, the cross-motions for summary adjudication of
                                                                         16 the issue of admissibility of the confession are DENIED.
                                                                         17     In summary, based upon disputed issues of material facts as
                                                                         18 discussed above, the cross-motions for summary adjudication of
                                                                         19 whether the Inspectors violated Plaintiffs’ due process rights under
                                                                         20 Brady are DENIED.
                                                                         21     The Inspectors argue that even if they committed a
                                                                         22 constitutional violation, they are absolutely or qualifiedly immune
                                                                         23 from liability.
                                                                         24              4. Absolute Immunity
                                                                         25     Peace officers and other investigators are protected by
                                                                         26 absolute immunity when performing prosecutorial or quasi-judicial
                                                                         27 functions, typically by assisting the prosecutor to prepare the case
                                                                         28                                     65
                                                                         1 after probable cause for arrest has been established.     KRL v. Moore,
                                                                         2 384 F.3d 1104, 1113 (9th Cir. 2003).    As noted above, the absolute
                                                                         3 immunity inquiry is focused on the nature of the function performed,
                                                                         4 not the identity of the actor who performed it.    Forrester v. White,
                                                                         5 484 U.S. 219, 229 (1988).
                                                                         6        The Inspectors argue that they were not acting in an
                                                                         7 investigative capacity in November, 1990, when Ricard confessed,
                                                                         8 because the investigation had long ended, the Inspectors’ only role
                                                                         9 at that time was to assist Butterworth in his duties as a
                                                                         10 prosecutor, and Plaintiffs had already been convicted.   However,
                                                                         11 these facts do not end the inquiry.    As stated in Gensler, 410 F.3d
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                                                                         12 at 639, timing is relevant, but is not dispositive of the
                                                                         13 classification of the defendant’s activity.
                                                                         14       At his deposition, Sanders testified that he received the
                                                                         15 Ricard confession within a day or two after it was made, immediately
                                                                         16 began investigating it and informed Butterworth of the
                                                                         17 investigation.8   At his deposition, Hendrix testified that he
                                                                         18 learned of the Ricard confession from Sanders, that they immediately
                                                                         19 took steps to locate Ricard, and that he never informed Butterworth
                                                                         20 of the confession.9   Butterworth testified that he never learned
                                                                         21 about the Ricard confession from the Inspectors; instead he was
                                                                         22 informed about it by Lewis, whom he happened to meet accidentally in
                                                                         23 the cafeteria, months after it had been given.
                                                                         24
                                                                                   8
                                                                                    Sanders’ inconsistent statement in his declaration that he
                                                                         25   first learned of Ricard’s confession from Butterworth has been
                                                                              stricken.
                                                                         26
                                                                                   9
                                                                                    Hendrix’ inconsistent statement in his declaration that he
                                                                         27   did not investigate the confession has been stricken.
                                                                         28                                   66
                                                                         1      Thus, their own testimony leads to the conclusion that the
                                                                         2 Inspectors were acting in an investigative capacity after they
                                                                         3 learned of the Ricard confession, not in a quasi-judicial or
                                                                         4 prosecutorial capacity.     Accordingly, absolute immunity does not
                                                                         5 shield the Inspectors from Brady liability for withholding the
                                                                         6 Ricard confession.   The Inspectors’ motion for summary judgment on
                                                                         7 this ground is DENIED.
                                                                         8             (2) Qualified Immunity
                                                                         9                  (a) Clearly Established Law
                                                                         10     At the time the Inspectors learned of Ricard’s November, 1990
                                                                         11 confession to the police, the law regarding the constitutional duty
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                                                                         12 of law enforcement officials to turn over exculpatory evidence was
                                                                         13 clearly established.   The seminal Supreme Court cases establishing
                                                                         14 this duty were decided in 1963 and 1976.   See Brady v. Maryland, 373
                                                                         15 U.S. at 87; Agurs, 427 U.S. at 107.
                                                                         16     Citing Broam v. Bogan, 320 F.3d 1023, 1032 (9th Cir. 2003), the
                                                                         17 Inspectors argue that there was no clearly established law that a
                                                                         18 police officer has a legal duty to investigate and provide post-
                                                                         19 conviction, second-hand information to the prosecution or the
                                                                         20 defense.
                                                                         21     In Broam, the court stated that once probable cause to arrest
                                                                         22 has been established, a law enforcement officer has no
                                                                         23 constitutional duty to investigate independently every claim of
                                                                         24 innocence, whether the claim is based on mistaken identity or lack
                                                                         25 of the requisite intent.   Id.   However, the court did not hold, as
                                                                         26 the Inspectors argue, that a law enforcement officer has no
                                                                         27 constitutional duty to turn over to the prosecution material
                                                                         28                                     67
                                                                         1 exculpatory evidence in his possession.      In fact, Broam indicated
                                                                         2 the opposite, that “an officer is not entitled to a qualified
                                                                         3 immunity defense, however, where exculpatory evidence is ignored
                                                                         4 that would negate a finding of probable cause.”      Id.   The Ninth
                                                                         5 Circuit has also stated:
                                                                         6         There is no ambiguity in our law. The obligation under
                                                                                   Brady and Giglio is the obligation of the government, not
                                                                         7         merely the obligation of the prosecutor. . . .
                                                                                   ‘Exculpatory evidence cannot be kept out of the hands of
                                                                         8         the defense just because the prosecutor does not have it,
                                                                                   where an investigating agency does.’
                                                                         9
                                                                              Blanco, 392 F.3d at 393-94 (internal citations omitted).
                                                                         10
                                                                                   Relying on Villasana, 368 F.3d at 979 (citing Imbler v.
                                                                         11
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                                                                              Pachtman, 424 U.S. 409, 427 (1976)), the Inspectors next argue that,
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                                                                         12
                                                                              because only the prosecutor has a duty to disclose evidence to the
                                                                         13
                                                                              defense, Plaintiffs cannot seek § 1983 damages for an alleged Brady
                                                                         14
                                                                              violation from non-prosecutors who do not have absolute
                                                                         15
                                                                              prosecutorial immunity.
                                                                         16
                                                                                   The Inspectors mischaracterize the holding of Villasana.
                                                                         17
                                                                              Villasana did not hold that investigators cannot be civilly liable
                                                                         18
                                                                              for a Brady violation; it addressed the standard that should apply
                                                                         19
                                                                              to such claims.   Id. at 980.   Courts have held investigators liable
                                                                         20
                                                                              for failing to disclose material exculpatory evidence to the
                                                                         21
                                                                              prosecutor.   See McMillian v. Johnson, 88 F.3d 1554, 1567 (11th Cir.
                                                                         22
                                                                              1996) (although investigators have no Brady obligation to turn over
                                                                         23
                                                                              exculpatory evidence to the defense, they have a duty, under Brady,
                                                                         24
                                                                              to turn over such evidence to the prosecutor); Newsome v. McCabe,
                                                                         25
                                                                              256 F.3d 747, 752 (7th Cir. 2001) (under a qualified immunity
                                                                         26
                                                                              analysis, concluding that it was clearly established in 1979 and
                                                                         27
                                                                         28                                      68
                                                                         1 1980 that police could not withhold from prosecutors exculpatory
                                                                         2 information); Jones v. City of Chicago, 856 F.2d 985, 993 (7th Cir.
                                                                         3 1988) (in § 1983 case, upholding jury verdict against defendant
                                                                         4 police officers on ground that jury could have found defendants
                                                                         5 concealed from prosecutors facts material to decision whether to
                                                                         6 prosecute plaintiff).
                                                                         7        Thus, clearly established law would inform a reasonable officer
                                                                         8 that Ricard’s confession should have been turned over to the
                                                                         9 prosecutor, who in turn would be responsible for providing it to
                                                                         10 defense counsel.
                                                                         11                 (b) Reasonable Conduct
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                                                                         12       Again relying on Villasana, 368 F.3d at 978, the Inspectors
                                                                         13 argue that they are entitled to qualified immunity because they
                                                                         14 reasonably believed that Butterworth was responsible for providing
                                                                         15 any exculpatory evidence to defense counsel, and they were not.     As
                                                                         16 discussed above, this argument is a mischaracterization of well-
                                                                         17 established law regarding the duty of law enforcement officials to
                                                                         18 turn over all exculpatory evidence to the prosecutor; the Inspectors
                                                                         19 fail to explain how Butterworth could have disclosed Ricard’s
                                                                         20 confession to Plaintiffs if the Inspectors never told him about it.
                                                                         21       The Inspectors argue that because they never had possession of
                                                                         22 the tape of the Ricard confession, they could not have suppressed
                                                                         23 it.   Furthermore, they argue that “a reasonable officer could have
                                                                         24 believed that Lewis, the SFPD officer who actually took Ricard’s
                                                                         25 confession, would have advised Butterworth of the confession.”
                                                                         26       The Inspectors cannot avoid responsibility for their obligation
                                                                         27 by assuming that a subordinate fulfilled it.   At his deposition,
                                                                         28                                   69
                                                                         1 Hendrix testified that he and Sanders were responsible for turning
                                                                         2 over evidence connected to the Shannon homicide to the district
                                                                         3 attorney because it was their case and that it was Lewis and
                                                                         4 Gittens’ responsibility to get the tape of the Ricard confession
                                                                         5 either to the district attorney or to Sanders or himself.   Lewis
                                                                         6 testified that he did get the tape to the Inspectors.   He testified
                                                                         7 that, immediately after he took Ricard’s confession, he informed the
                                                                         8 Inspectors of it by putting a copy of the taped confession in a
                                                                         9 place where the Inspectors would receive it, and that he spoke to
                                                                         10 Hendrix about the confession the next day.   Sanders testified that
                                                                         11 he received the tape of Ricard’s confession within a day or two of
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                                                                         12 November 7, 1990, the date it was made.
                                                                         13     Viewing the evidence in the light most favorable to Plaintiffs,
                                                                         14 it was the Inspectors’ responsibility to inform Butterworth of the
                                                                         15 confession, and they did not have reason to believe that Lewis or
                                                                         16 Gittens did so.   Therefore, these facts do not demonstrate the
                                                                         17 Inspectors acted reasonably under the circumstances.
                                                                         18     Next, the Inspectors argue that they are protected by qualified
                                                                         19 immunity because Butterworth learned of the confession and provided
                                                                         20 it to Plaintiffs’ defense attorneys in sufficient time for it to be
                                                                         21 considered by the trial and appellate courts and the failure to
                                                                         22 inform Butterworth of the confession earlier did not violate clearly
                                                                         23 established law of which a reasonable officer would have been aware.
                                                                         24     Due process requires the disclosure of exculpatory material in
                                                                         25 sufficient time to permit the defendant to make effective use of the
                                                                         26 material.   LaMere v. Risley, 827 F.2d 622, 625 (9th Cir. 1987).    In
                                                                         27 determining whether the timing of the disclosure satisfied due
                                                                         28                                   70
                                                                         1 process, a court considers the prosecution’s reasons for late
                                                                         2 disclosure and whether the defendant had an opportunity to make use
                                                                         3 of the disclosed material.    Id.
                                                                         4        In its August 26, 2003 Habeas Order, the Court explained why
                                                                         5 the delay in turning over the Ricard confession was prejudicial to
                                                                         6 Tennison.    Purcell Dec., Ex. 52, August 26, 2003 Order at 100-102.
                                                                         7 In the habeas proceeding, the respondent had not explained why the
                                                                         8 Inspectors did not inform Butterworth of the confession.       The only
                                                                         9 explanation the Inspectors make here, that it was Lewis’
                                                                         10 responsibility, is insufficient when viewing the facts in the light
                                                                         11 most favorable to Plaintiffs.   Although the Court’s ruling in the
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                                                                         12 habeas case has no preclusive effect on the issues in this case,
                                                                         13 because the facts are the same, the Court adopts the reasoning in
                                                                         14 the August 26, 2003 Habeas Order regarding prejudice to Tennison due
                                                                         15 to the delay in receiving Ricard’s confession.   Furthermore, Goff
                                                                         16 was similarly prejudiced by the delay in his receipt of the
                                                                         17 confession, because he could have immediately used it as the basis
                                                                         18 of his State appeals and habeas petitions.10   As discussed
                                                                         19 previously, although the State courts found the confession to be
                                                                         20 unreliable, they did so without the benefit of all of the withheld
                                                                         21 Brady material and they compared it to the anonymous Ricard
                                                                         22 confession obtained by Adachi that would not have been submitted if
                                                                         23
                                                                         24        10
                                                                                    As discussed previously in relation to Butterworth’s motion
                                                                              for summary judgment, Butterworth did not turn over the Ricard
                                                                         25   confession to Goff. However, Butterworth's actions are not
                                                                              relevant to whether the Inspectors are protected by qualified
                                                                         26   immunity. Therefore, for this discussion, it is assumed that the
                                                                              Inspectors would have fulfilled their responsibilities if they had
                                                                         27   turned the tape over to Butterworth.
                                                                         28                                    71
                                                                         1 the taped Ricard confession to the police had been timely turned
                                                                         2 over to both Plaintiffs.
                                                                         3      Therefore, the fact that eventually Butterworth learned of the
                                                                         4 confession from Lewis and then informed Tennison of it does not
                                                                         5 excuse the Inspectors from their duty to turn the tape over in
                                                                         6 sufficient time for Plaintiffs to make use of it.   These facts fail
                                                                         7 to demonstrate that the Inspectors acted reasonably under the
                                                                         8 circumstances.
                                                                         9      Accordingly, the Court DENIES the cross-motions for summary
                                                                         10 adjudication of this claim and DENIES the Inspectors’ motion for
                                                                         11 summary judgment of absolute or qualified immunity.
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                                                                         12     B. Suppression of Smith’s Statement
                                                                         13     The Inspectors argue that Plaintiffs’ Brady claim based on
                                                                         14 Smith’s information fails because the information is not
                                                                         15 exculpatory, the Inspectors lacked the requisite intent to deprive
                                                                         16 Plaintiffs of a constitutional right and Plaintiffs’ knowledge of
                                                                         17 Smith’s involvement means the Inspectors did not suppress the
                                                                         18 confession.
                                                                         19          (1) Exculpatory Information
                                                                         20     The Inspectors argue that Smith’s information is not
                                                                         21 exculpatory on the ground that, before 1992, Smith did not tell the
                                                                         22 police that she had witnessed Shannon’s murder.   They argue that her
                                                                         23 January 3, 1990 phone call to Sanders was mysterious because she
                                                                         24 only identified herself as “Chante” and provided only a contact
                                                                         25 phone number.   They point out that they interviewed the five
                                                                         26 individuals who she had heard were present at the murder and learned
                                                                         27 nothing about the murder.   The Inspectors, pointing to Sanders’ note
                                                                         28                                   72
                                                                         1 as evidence, also argue that Smith did not say that Tennison and
                                                                         2 Goff were not at the murder scene.
                                                                         3       In her 1995 declaration, Smith states that she told Sanders in
                                                                         4 1990 that he had arrested the wrong people for the Shannon murder
                                                                         5 because she had heard that Ricard had shot Shannon and that Tennison
                                                                         6 and Goff were not present at any point during the homicide.      Smith
                                                                         7 Reply Dec. at ¶ 8.   The fact that Sanders did not write this
                                                                         8 information in his note does not prove that Smith did not provide
                                                                         9 it.
                                                                         10      Furthermore, the Inspectors’ characterization of Smith’s call
                                                                         11 as mysterious is inconsistent with the evidence that the Inspectors
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                                                                         12 knew Smith and her friends before the Shannon murder.     For instance,
                                                                         13 at Smith’s 1992 interview, Sanders asked her how long she had known
                                                                         14 himself and Hendrix, and Smith replied that she had known them for a
                                                                         15 couple of years, from before the Shannon murder.   Purcell Dec., Ex.
                                                                         16 47, 1992 Smith Interview at 76.   Sanders stated, “We know all of
                                                                         17 your, a lot of your buddies, and people who hang out with you on the
                                                                         18 street, is that correct?”   Id.   Smith replied, “Yes.”   Id.   At his
                                                                         19 2001 deposition, Sanders testified that he and Hendrix knew Smith,
                                                                         20 just as they knew many of the young people in her neighborhood, and
                                                                         21 that they had questioned her about a number of the gang-related
                                                                         22 murders that had occurred in her neighborhood.   Balogh Reply Dec.,
                                                                         23 Ex. 63, 2001 Sanders Depo. at 143-44.
                                                                         24      Further, the Inspectors’ follow-up interview of Luther Blue
                                                                         25 after Smith disclosed his name to Sanders indicates that she told
                                                                         26 Sanders that the car chase started at the Seven-Eleven.    This was
                                                                         27 exculpatory because it cast doubt on Masina’s testimony that the car
                                                                         28                                    73
                                                                         1 chase started at Lovers’ Lane.    Finally, if Smith’s information had
                                                                         2 been disclosed, she could have testified at Tennison’s motion for
                                                                         3 new trial, and important parts of Ricard’s confession would have
                                                                         4 been corroborated, which would have been a significant factor in the
                                                                         5 trial judge’s analysis of whether Ricard’s confession was
                                                                         6 trustworthy.    It is reasonable to infer that, after Ricard
                                                                         7 confessed, Smith would have no reason to fear retaliation from
                                                                         8 Ricard or Blue if she testified that she had been an eyewitness to
                                                                         9 Shannon’s shooting.
                                                                         10       Therefore, the information Smith relayed to Sanders in 1990 was
                                                                         11 exculpatory.
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                                                                         12            (2) Intent
                                                                         13       The Inspectors argue that Sanders’ January 3, 1990 note about
                                                                         14 the Smith interview was in Butterworth’s file and this negates any
                                                                         15 inference that Sanders intended to bury information connected to
                                                                         16 Smith.11   Also, according to the Inspectors, the fact that they
                                                                         17 interviewed the five individuals Smith named and put notes of those
                                                                         18 interviews in the file demonstrates that they had no intention to
                                                                         19 withhold any of Smith’s information.   Lastly, to support their claim
                                                                         20 that Sanders’ note was sufficient to fulfill his Brady obligation,
                                                                         21 the Inspectors point to Adachi’s and Melton’s testimony that, had
                                                                         22 they seen Sanders’ note, they would have been alerted to Smith and
                                                                         23 her information.
                                                                         24
                                                                         25       11
                                                                                     The Inspectors actually argue that the facts show that
                                                                              Sanders did not act in bad faith. As discussed above, Plaintiffs
                                                                         26   must show that the Inspectors deliberately intended to withhold
                                                                              Brady material; it is not necessary to show they acted in bad
                                                                         27   faith.
                                                                         28                                   74
                                                                         1      Plaintiffs respond that they never saw Sanders’ note and, even
                                                                         2 if they had, it was insufficient to alert anyone to Smith’s identity
                                                                         3 or the substance of her statements because it omitted Smith’s last
                                                                         4 name, and her statements that Ricard had committed the murder, that
                                                                         5 Plaintiffs were not at the murder scene, and that the car chase
                                                                         6 started at the Seven-Eleven store.      As evidence that Sanders’ note
                                                                         7 was insufficient under Brady, Plaintiffs cite Butterworth’s
                                                                         8 testimony that he could not ascertain its significance.     Plaintiffs
                                                                         9 also argue that Sanders’ intent to suppress Smith’s information is
                                                                         10 demonstrated by the fact that he made no notes of his further
                                                                         11 contacts with Smith which would have alerted Plaintiffs to the
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                                                                         12 significance of her information, nor are there notes that members of
                                                                         13 the GTF interviewed Smith regarding her knowledge of the truck that
                                                                         14 was thought to be involved in the car chase.
                                                                         15     Because Butterworth testified that Sanders’ note was in his
                                                                         16 file and therefore it would have been turned over to Plaintiffs’
                                                                         17 attorneys, but Plaintiffs’ attorneys testified that they did not
                                                                         18 receive the note, there is a dispute about whether Sanders included
                                                                         19 the note in the file he gave Butterworth.    And, even if Sanders gave
                                                                         20 the note to Butterworth, it was cryptic and failed to disclose
                                                                         21 significant details.   The fact that Adachi and Melton thought the
                                                                         22 note was important does not mean the note was sufficient as written.
                                                                         23 The Inspectors’ insistence that they did not know Smith or the
                                                                         24 people she mentioned is belied by other testimony where the
                                                                         25 Inspectors admit they knew Smith before the Shannon murder, knew the
                                                                         26 people with whom she associated and knew that she said that the car
                                                                         27 chase started at the Seven-Eleven store instead of Lovers’ Lane.
                                                                         28                                   75
                                                                         1 The Inspectors do not address Plaintiffs’ argument that Sanders made
                                                                         2 no notes of his further contacts with Smith or of the interviews of
                                                                         3 Smith by members of the GTF.     Therefore, Sanders’ note did not
                                                                         4 fulfill his Brady obligations.      However, a fact-finder could infer
                                                                         5 that Sanders thought the note was sufficient.     As noted above,
                                                                         6 questions involving state of mind are generally inappropriate for
                                                                         7 summary judgment.   Therefore, there are disputed issues of material
                                                                         8 fact regarding intent and the cross-motions for summary adjudication
                                                                         9 of this issue are DENIED.
                                                                         10          (3) Plaintiffs’ Knowledge of Smith
                                                                         11     The Inspectors argue that they are not liable for a Brady-based
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                                                                         12 § 1983 violation because Plaintiffs independently knew of Smith and
                                                                         13 that she might have information about the Shannon murder, and thus
                                                                         14 Plaintiffs’ attorneys could have discovered the alleged Brady
                                                                         15 material on their own.
                                                                         16               (a) Tennison’s Knowledge of Smith
                                                                         17     Citing Smith’s 1992 police interview, the Inspectors claim that
                                                                         18 Tennison knew Smith because she talked to him before his trial and
                                                                         19 he asked her to be a witness for him at his trial.    The Inspectors
                                                                         20 argue that Tennison or Adachi could have found Smith and learned of
                                                                         21 her information before trial.   This argument is unpersuasive.     At
                                                                         22 her 1992 interview, Smith stated that she barely knew Tennison and
                                                                         23 that she only spoke with him coincidentally when she worked as an
                                                                         24 operator and Tennison placed a telephone call from jail.    Although
                                                                         25 Tennison asked her to speak to his attorney about the Shannon
                                                                         26 homicide, she declined because she feared that she would be killed
                                                                         27 by Ricard or Blue if she did so.    She explained that, because she
                                                                         28                                     76
                                                                         1 feared for her life, she asked her family not to give her telephone
                                                                         2 number or address to Plaintiffs and that she moved from her former
                                                                         3 address to ensure that her whereabouts would be secret.    Smith’s
                                                                         4 statements are corroborated by the testimony at the hearing on
                                                                         5 Tennison’s motion for new trial.     At the time of the hearing, the
                                                                         6 only information known to Tennison was that a person named Chauntey
                                                                         7 White may have witnessed the Shannon murder; even though Tennison’s
                                                                         8 brother searched for her, he was unable to locate her.
                                                                         9      This evidence establishes that Tennison had some vague
                                                                         10 information about Smith, that he diligently searched for her, but
                                                                         11 that the search was unsuccessful.    On the basis of this evidence,
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                                                                         12 the Court cannot find that Tennison’s attorney had the knowledge and
                                                                         13 means to obtain Smith’s information on his own.
                                                                         14                 (b) Goff’s Knowledge of Smith
                                                                         15     The Inspectors cite Goff’s deposition and his testimony at the
                                                                         16 § 4900 hearing to show that he had a close romantic relationship
                                                                         17 with Smith before the Shannon murder, that after the murder he heard
                                                                         18 she might have been involved and that he told Melton this.   The
                                                                         19 evidence shows that Goff was not romantically involved with Smith;
                                                                         20 they just knew each other from the neighborhood, they had gone to
                                                                         21 the movies together once or twice, but Smith did not even know
                                                                         22 Goff’s last name.   A few weeks after the murder but before he was
                                                                         23 arrested, Goff heard Ricard mention Smith’s name in connection with
                                                                         24 the murder.   Goff asked Smith about her involvement, but when she
                                                                         25 denied knowing anything, he did not pursue the subject.   Goff had
                                                                         26 also heard that the car chase started at the Seven-Eleven.   After he
                                                                         27 was arrested, Goff gave his attorney this information.    After the
                                                                         28                                     77
                                                                         1 trial, Goff coincidentally had a brief conversation with Smith in
                                                                         2 her role as operator when he was placing a call from jail.    Goff
                                                                         3 asked Smith to talk to his attorney and Smith refused.
                                                                         4         Unlike Tennison, Goff had heard immediately after he was
                                                                         5 arrested about Smith’s connection to the murder and that the car
                                                                         6 chase started at the Seven-Eleven and he informed his attorney of
                                                                         7 this.    On the basis of this evidence, the Court finds that there are
                                                                         8 disputes of material fact regarding whether Goff’s attorney    had
                                                                         9 sufficient information to have found Smith and her exculpatory
                                                                         10 information on his own.
                                                                         11        In summary, based upon disputed issues of material facts, the
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                                                                         12 cross motions for summary adjudication on liability are DENIED.
                                                                         13              (4) Absolute Immunity
                                                                         14        Although the Inspectors make a blanket argument that they are
                                                                         15 absolutely immune from all of Plaintiffs’ claims, they do not
                                                                         16 specifically argue that absolute immunity applies to Plaintiffs’
                                                                         17 Brady claim regarding Smith and the information she provided.
                                                                         18 Therefore, absolute immunity is DENIED in regard to this claim.
                                                                         19              (5) Qualified Immunity
                                                                         20        The Inspectors argue that, even if they committed a
                                                                         21 constitutional violation, they are qualifiedly immune from
                                                                         22 liability.    As discussed above, the law regarding the duty of police
                                                                         23 to turn over exculpatory evidence to the prosecutor was clearly
                                                                         24 established at the time these events occurred.   Thus, the Court
                                                                         25 addresses whether the Inspectors’ conduct was reasonable under the
                                                                         26 clearly established law.
                                                                         27        As discussed above, the Court has found that the information
                                                                         28                                       78
                                                                         1 Smith told the Inspectors was exculpatory and that Sanders’
                                                                         2 handwritten note of his first interview with Smith was insufficient
                                                                         3 to fulfill his Brady obligation.       For all the reasons stated above,
                                                                         4 the Inspectors’ failure to alert Butterworth to this information so
                                                                         5 that he, in turn, could have informed Plaintiffs of it, cannot be
                                                                         6 summarily adjudicated to be objectively reasonable under clearly
                                                                         7 established law.   Therefore, the Inspectors’ motion for summary
                                                                         8 adjudication of qualified immunity is DENIED.
                                                                         9      C. Request for Money From Secret Witness Program
                                                                         10            (1) Exculpatory Evidence
                                                                         11     The Inspectors argue that there is no constitutional violation
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                                                                         12 for failing to disclose the SWP memo to Butterworth because the
                                                                         13 information is not exculpatory in that no one received any reward
                                                                         14 money.   Plaintiffs argue that the memo is exculpatory because it had
                                                                         15 impeachment and investigative value.     They argue that the
                                                                         16 exculpatory nature of the memo is reinforced by the April 23, 1990
                                                                         17 conversation between Hendrix and Masina, which shows that Hendrix
                                                                         18 discussed a reward with Masina, and by the two entries from the
                                                                         19 ledger of Contingent Fund B indicating payments to Sanders and
                                                                         20 Hendrix in the total amount of approximately $1,400.
                                                                         21     Although Masina declares that she was not offered a reward and
                                                                         22 did not receive one, the enhanced tape of the April 23, 1990
                                                                         23 conversation between Hendrix and Masina is evidence that Hendrix may
                                                                         24 have discussed a reward with Masina.     As acknowledged by Hendrix, a
                                                                         25 reward taints a witness’ testimony at trial.     Purcell Dec., Ex. 15,
                                                                         26 Hendrix Depo. at 124.   The audio experts’ disagreement about whether
                                                                         27 the word “reward” is mentioned by Hendrix raises a factual issue for
                                                                         28                                   79
                                                                         1 a jury to decide.
                                                                         2        Also, the Inspectors do not explain the whereabouts of the
                                                                         3 original audio tape nor how copies of the audio tape came to be in
                                                                         4 such poor condition.
                                                                         5        Spoliation of evidence, defined as “the destruction or
                                                                         6 significant alteration of evidence, or the failure to preserve
                                                                         7 property for another’s use as evidence in pending or reasonably
                                                                         8 foreseeable litigation,” supports an inference that the evidence was
                                                                         9 unfavorable to the party responsible for its destruction.     Byrni v.
                                                                         10 Town of Cromwell, Bd. of Educ., 243 F.3d 93, 107 (2nd Cir. 2001).
                                                                         11 An inference of spoliation, in combination with some evidence for
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                                                                         12 the plaintiff, can allow the plaintiff to survive summary judgment.
                                                                         13 Medical Lab Mgmt. Consultants v. American Broadcasting Cos., Inc.,
                                                                         14 306 F.3d 806, 825 (9th Cir. 2002).
                                                                         15       Here, the fact that the audio tape was not disclosed, and the
                                                                         16 original was not preserved, for use as evidence in Plaintiffs’
                                                                         17 criminal case or their future habeas petitions, which were
                                                                         18 reasonably foreseeable to the Inspectors, raises an inference that
                                                                         19 the conversation on the audio tape was unfavorable to the Inspectors
                                                                         20 and the criminal case against Plaintiffs.   This, in conjunction with
                                                                         21 the evidence of the SWP memo, contributes to the inference that, at
                                                                         22 the very least, a reward was discussed with Masina.12   Thus, the SWP
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                                                                                   12
                                                                                    The withdrawals from Contingent Fund B might contribute to
                                                                         24   this finding. On the other hand, a fact-finder could credit
                                                                              Goldberg’s testimony that the money was used for witness travel.
                                                                         25   The ledger entry of the $1,250 payment indicates it was for witness
                                                                              expenses and the payment was made in early October, 1999 when
                                                                         26   Masina traveled from Samoa to the United States to provide an in-
                                                                              person taped statement of her account of Shannon’s homicide. See
                                                                         27   Masina Dec. and Wong Dec., Ex. LL, Tennison’s Preliminary Hearing
                                                                         28                                   80
                                                                         1 memo could be found to be exculpatory.    The Inspectors’ argument
                                                                         2 that the SWP memo is inadmissible hearsay is unpersuasive; armed
                                                                         3 with the memo, Plaintiffs’ trial counsel could have asked the
                                                                         4 Inspectors about it at trial and used it to impeach them if they
                                                                         5 denied making the request from the SWP.
                                                                         6        The Court concludes that there are disputed issues of fact
                                                                         7 regarding whether the SWP memo was exculpatory.
                                                                         8              (2) Intent
                                                                         9        The Inspectors argue that they did not intend to withhold the
                                                                         10 SWP memo, as evidenced by the fact that they placed it in the police
                                                                         11 case file where Butterworth could access it and turn it over to
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                                                                         12 Plaintiffs.
                                                                         13       Officer Tabak, San Francisco’s Rule 30(b)(6) witness on police
                                                                         14 procedures, testified that it is standard procedure for the police
                                                                         15 to turn over everything to the district attorney’s office.    The
                                                                         16 district attorney discloses everything to the defense.   Balogh Dec.,
                                                                         17 Ex. 81, Tabak Depo. at 48.   Tabak also stated that it is not SFPD’s
                                                                         18 policy for the investigator who is aware of exculpatory evidence to
                                                                         19 leave it in the police case file and assume that if the district
                                                                         20 attorney is interested, he would come to the SFPD where the file is
                                                                         21 located and look at it.   Id. at 99.   Instead, Tabak stated, the
                                                                         22 investigator should make an effort within a reasonable amount of
                                                                         23 time to reveal that exculpatory information to the district
                                                                         24 attorney.   Id.
                                                                         25       Tabak’s testimony is sufficient to raise a dispute of fact
                                                                         26
                                                                              at 54 (Shortly after the Shannon homicide, Masina left the United
                                                                         27   States to live in Samoa).
                                                                         28                                   81
                                                                         1 regarding whether the Inspectors negligently or intentionally
                                                                         2 withheld the memo by placing it in the police case file instead of
                                                                         3 turning it over to Butterworth.
                                                                         4        Because there are disputes of material fact regarding whether
                                                                         5 the SWP memo was exculpatory and whether the Inspectors intended to
                                                                         6 withhold it, the cross motions for summary judgment on the issue of
                                                                         7 liability are DENIED.
                                                                         8               (3) Qualified Immunity13
                                                                         9        The Inspectors argue that even if they committed a
                                                                         10 constitutional violation, qualified immunity protects them from
                                                                         11 liability.
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                                                                         12       As discussed above, at the time this conduct took place the law
                                                                         13 regarding the Inspectors’ duty to turn over to the prosecutor
                                                                         14 exculpatory information was well-established.    If the SWP memo was
                                                                         15 exculpatory, a reasonable officer would know that it was necessary
                                                                         16 to turn it over directly to the district attorney.     Therefore,
                                                                         17 disputed facts regarding the memo’s exculpatory value preclude
                                                                         18 summary judgment on whether the Inspectors’ conduct was reasonable
                                                                         19 under the circumstances.     The Inspectors’ motion for summary
                                                                         20 judgment of qualified immunity for failure to disclose the SWP memo
                                                                         21 is DENIED.
                                                                         22       D. Luther Blue’s Interviews and Pauline’s Polygraph
                                                                         23       Only the Inspectors move for summary judgment on these claims.
                                                                         24 They argue that they fulfilled their Brady obligations by providing
                                                                         25 the video tapes of each of their two interviews with Luther Blue to
                                                                         26
                                                                                  13
                                                                                    The Inspectors do not argue that absolute immunity applies to
                                                                         27   this claim.
                                                                         28                                     82
                                                                         1 Butterworth, that Butterworth himself ordered Pauline’s polygraph
                                                                         2 and that they informed him of the results.      Tennison concedes that
                                                                         3 the Inspectors’ conduct in regard to the Blue interviews and
                                                                         4 Pauline’s polygraph are not independent grounds for liability under
                                                                         5 Brady.     Tennison Opp. at 57.    Goff does not address the Blue
                                                                         6 interview.     Goff argues that the polygraph was material exculpatory
                                                                         7 evidence, but doesn’t address how the Inspectors could be liable for
                                                                         8 failure to disclose it to Butterworth given that Butterworth knew of
                                                                         9 it.   Therefore, the Court GRANTS the Inspectors’ motion for summary
                                                                         10 judgment on Plaintiffs’ Brady claims to the extent they are based on
                                                                         11 suppression of the Blue interviews and Pauline’s polygraph.
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                                                                         12         E. Materiality
                                                                         13         Plaintiffs argue that they are entitled to summary judgment on
                                                                         14 the element of materiality on all of their Brady claims.
                                                                         15         As discussed above, in the context of a Brady violation,
                                                                         16 evidence is material "if there is a reasonable probability that, had
                                                                         17 the evidence been disclosed to the defense, the result of the
                                                                         18 proceeding would have been different.”     Bagley, 473 U.S. at 682.
                                                                         19         In the Habeas Order, the Court undertook an extensive review of
                                                                         20 the case the prosecution presented against Tennison to the jury and
                                                                         21 concluded that it was weak.      Habeas Order at 72-80.   The Inspectors
                                                                         22 do not present additional evidence on this issue nor do they argue
                                                                         23 that the prosecution’s case was strong.     Therefore, the Court adopts
                                                                         24 here the finding that the prosecution’s case against Tennison was
                                                                         25 weak.    The Court also finds the prosecution’s case against Goff was
                                                                         26 weak because there was only one eyewitness who identified Goff,
                                                                         27 instead of two eyewitnesses who identified Tennison.
                                                                         28                                      83
                                                                         1      However, because materiality is to be considered in terms of
                                                                         2 the collective effect of the suppressed evidence, it is premature to
                                                                         3 determine materiality before a jury resolves the disputed factual
                                                                         4 issues as to what evidence is suppressed and who is liable for it.
                                                                         5 Therefore, even though the case against Plaintiffs was weak, the
                                                                         6 Court will not summarily adjudicate the materiality of the
                                                                         7 suppressed evidence.
                                                                         8      F. Causation
                                                                         9      The parties cross-move for summary adjudication as to whether
                                                                         10 the Inspectors’ alleged failure to disclose exculpatory evidence to
                                                                         11 the prosecutor caused Plaintiffs’ injury.
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                                                                         12     To establish a civil rights violation, the plaintiff must show
                                                                         13 that the defendant’s unconstitutional conduct was the actual and
                                                                         14 proximate cause of the plaintiff’s injuries.    White v. Roper, 901
                                                                         15 F.2d 1501, 1505 (9th Cir. 1990); Van Ort v. Estate of Stanewich, 92
                                                                         16 F.2d 831, 836-37 (9th Cir. 1996); Arnold v. Int’l Business Machines
                                                                         17 Corp., 637 F.2d 1350, 1355 (9th Cir. 1981).     The defendant’s conduct
                                                                         18 is the actual cause of the injury only if the injury would not have
                                                                         19 occurred “but for” that conduct.   White, 901 F.2d at 1505.    If it is
                                                                         20 established that the conduct was one of the causes of the
                                                                         21 plaintiff’s injury, the next question is whether the conduct is the
                                                                         22 proximate cause of the injury.   Id. at 1506.    The defendant’s
                                                                         23 conduct is not the proximate cause of the injury if another cause
                                                                         24 intervenes and supercedes the defendant’s liability for the
                                                                         25 subsequent events.   Id.; Van Ort, 92 F.2d at 837 (traditional tort
                                                                         26 law defining intervening causes that break the chain of proximate
                                                                         27 causation applies in § 1983 actions); Arnold, 637 F.2d at 1355
                                                                         28                                    84
                                                                         1 (same).   Whether the conduct of another person is an intervening
                                                                         2 cause of the plaintiff’s injuries depends upon what was reasonably
                                                                         3 foreseeable to the defendant at the time.     White, 901 F.2d at 1505.
                                                                         4 Foreseeable intervening causes will not supersede the defendant’s
                                                                         5 responsibility.   Id.
                                                                         6      The Inspectors offer many reasons for their argument that they
                                                                         7 are not the legal or the proximate cause of Plaintiffs’ injuries:
                                                                         8 witnesses were untruthful during the investigation, Plaintiffs’
                                                                         9 defense counsel failed to investigate and present an adequate
                                                                         10 defense, the courts ruled adversely on the allegedly suppressed
                                                                         11 Ricard confession and Plaintiffs failed to use their own knowledge
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                                                                         12 of the alleged facts to defend themselves.
                                                                         13     Plaintiffs respond that the Habeas Order provides the best
                                                                         14 template for analysis of causation.   However, in the habeas case the
                                                                         15 issue of causation was not addressed.
                                                                         16     As discussed above in the context of liability, the Court has
                                                                         17 found disputed issues of material facts in regard to many of the
                                                                         18 same arguments the Inspectors raise here.    The factual dispute is
                                                                         19 compounded here because the Inspectors’ ability to foresee any of
                                                                         20 the alleged intervening events must be determined.   Therefore, the
                                                                         21 Court finds that disputed issues of material facts preclude summary
                                                                         22 adjudication for either side of the issue of causation.
                                                                         23 III. The Inspectors’ Motion for Summary Judgment on Fabrication of
                                                                                 Evidence and Continued Investigation Claim
                                                                         24
                                                                                 Only the Inspectors move for summary judgment on Plaintiffs’
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                                                                            claim that the Inspectors fabricated evidence in their interviews of
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                                                                            Masina and Pauline and continued their investigation of Plaintiffs
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                                                                         1 even though they knew or should have known that Plaintiffs were
                                                                         2 innocent.
                                                                         3        (A) Absolute Immunity
                                                                         4        The Inspectors argue that Hendrix is absolutely immune from
                                                                         5 Tennison’s claim that he allegedly coerced Pauline into committing
                                                                         6 perjury during the April, 1990 interviews.14
                                                                         7        As discussed in relation to Butterworth’s motion for summary
                                                                         8 judgment, the Court has found that Butterworth acted as a prosecutor
                                                                         9 and not as an investigator during the April 20 through April 22,
                                                                         10 1990 interviews of Pauline about her recantation.    At these
                                                                         11 interviews, Hendrix was working primarily at Butterworth’s
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                                                                         12 direction.   However, Butterworth testified that he did not direct
                                                                         13 Hendrix to arrange the telephone conversation between Pauline and
                                                                         14 Masina after Pauline took the polygraph examination.    Hendrix has
                                                                         15 not pointed to any contrary evidence.     Therefore, Hendrix was not
                                                                         16 under Butterworth’s direction when he arranged the phone call and
                                                                         17 cannot claim that he was acting as a prosecutor in doing so.    Thus,
                                                                         18 Hendrix is absolutely immune from Plaintiffs’ claim regarding his
                                                                         19 actions during the April 20 through April 22, 1990 interviews of
                                                                         20 Pauline, except for his conduct in setting up the phone call between
                                                                         21 Masina and Pauline.
                                                                         22       (B) Constitutional Violation
                                                                         23       As discussed above, to prevail on a fabrication of evidence
                                                                         24 claim, a plaintiff, at a minimum, must show that (1) the officer
                                                                         25 continued his investigation despite the fact he knew or should have
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                                                                                  14
                                                                                    Sanders was not present at the interviews and Pauline did not
                                                                         27   testify about Goff.
                                                                         28                                      86
                                                                         1 known that the suspect was innocent or (2) the officer used
                                                                         2 investigative techniques that were so coercive and abusive that he
                                                                         3 knew or should have known that they would yield false information.
                                                                         4 Devereaux, 263 F.3d at 1076.     Suggestive interview tactics alone do
                                                                         5 not amount to a constitutional violation.    Gausvik, 345 F.3d at 817.
                                                                         6              (1) Phone Call Between Pauline and Masina
                                                                         7      Plaintiffs argue that it was coercive for Hendrix to allow
                                                                         8 Pauline to participate in an unmonitored conversation with Masina,
                                                                         9 the person Pauline said had pressured her to lie.    As evidence, they
                                                                         10 point to Hendrix’ deposition testimony that good interview
                                                                         11 techniques require witnesses to be interviewed separately and that
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                                                                         12 he himself never put witnesses in a room together allowing them to
                                                                         13 talk over their respective testimony.    Wong Dec., Ex. B, 2005
                                                                         14 Hendrix Depo. at 37-40.
                                                                         15     In his declaration, Hendrix states that, after the polygraph,
                                                                         16 Pauline asked him if she could speak to Masina, who was then living
                                                                         17 in Samoa.   Hendrix states he arranged the call and didn’t monitor it
                                                                         18 because he “believed the girls were friends, and did not see
                                                                         19 anything improper in allowing two witnesses who had already given
                                                                         20 statements about the murder to speak.”   Hendrix Dec. at ¶ 23.
                                                                         21 Butterworth testified that he was not concerned that Pauline spoke
                                                                         22 with Masina over the telephone because Masina was in Samoa at the
                                                                         23 time so it was unlikely that she would be able to pressure or coerce
                                                                         24 Pauline.    Wong Dec., Ex. O, Butterworth Depo. at 334-35.
                                                                         25 Butterworth also stated that Hendrix had told him that Pauline had
                                                                         26 asked to speak to Masina and Butterworth thought it was unlikely
                                                                         27 that Pauline would make such a request if she felt threatened by
                                                                         28                                    87
                                                                         1 Masina.   Id. at 335.   Pauline stated that it was not her idea to
                                                                         2 speak to Masina, that Hendrix just handed her the phone and said
                                                                         3 that there was a phone call for her from Masina.     Wong Dec., Ex. M,
                                                                         4 Pauline Depo. at 98-99.
                                                                         5      Thus, there is a dispute of fact regarding whether Pauline
                                                                         6 asked to speak to Masina.    However, even if Pauline had requested to
                                                                         7 speak to Masina, it can be inferred that Hendrix knew or should have
                                                                         8 known that this unmonitored phone call could yield false
                                                                         9 information.   Thus, a jury could find that Hendrix committed a
                                                                         10 constitutional violation.   However, Tennison has not carried his
                                                                         11 burden of showing there is clearly established law regarding
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                                                                         12 allowing witnesses to talk to each other.    Thus, even if a
                                                                         13 constitutional violation was committed, a reasonable officer in
                                                                         14 Hendrix’ position would not have been aware that he was violating
                                                                         15 Plaintiffs’ constitutional rights.     The Inspectors’ motion for
                                                                         16 summary adjudication that Hendrix is qualifiedly immune on this
                                                                         17 claim is GRANTED.
                                                                         18           (2) Continued Investigation
                                                                         19     Opposing the Inspectors’ motion for summary adjudication that
                                                                         20 they did not commit a constitutional violation in this regard,
                                                                         21 Plaintiffs argue that, because it was obvious that Masina and
                                                                         22 Pauline were lying, the Inspectors knew it.    No other credible
                                                                         23 evidence tied Plaintiffs to Shannon’s murder and thus, Plaintiffs
                                                                         24 argue, the Inspectors continued their investigation of Plaintiffs
                                                                         25 despite the fact that they knew that Plaintiffs were innocent.
                                                                         26      The Inspectors argue that no evidence shows that they knew
                                                                         27 Plaintiffs were innocent and point to a great deal of evidence that
                                                                         28                                   88
                                                                         1 shows that they reasonably believed, based on the statements of
                                                                         2 Masina and Pauline, that Plaintiffs were guilty.   The Inspectors
                                                                         3 point out that there were sufficient reasons for them to believe
                                                                         4 that Masina was credible because: (1) her account of the murder
                                                                         5 never changed; (2) she had no motive to make up this story;
                                                                         6 (3) neighborhood witnesses corroborated the chase route and vehicles
                                                                         7 she described; (4) she admitted to having been in a stolen car, even
                                                                         8 though she could have faced criminal liability; (5) other witnesses
                                                                         9 corroborated aspects of her story; (6) the forensic evidence
                                                                         10 established that Shannon received two shots from a shotgun,
                                                                         11 consistent with what Masina described; (7) police found Shannon’s
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                                                                         12 body in the corner of the parking lot as Masina had described it;
                                                                         13 (8) Masina did not benefit from testifying against Plaintiffs;
                                                                         14 (9) Masina put herself and her family at risk by testifying; and
                                                                         15 (10) a neighborhood witness indicated that she saw a Filipina girl
                                                                         16 matching Masina’s description who did not look like she belonged
                                                                         17 with the rest of the individuals who were near the scene of the
                                                                         18 shooting.   The Inspectors argue that there were sufficient reasons
                                                                         19 for them to believe Pauline because:   (1) during her first police
                                                                         20 interview, she identified Tennison from a photo line-up; (2) at that
                                                                         21 same interview, she identified an individual named Wayland Gibson,
                                                                         22 whose street name was “Buck,” as having been present at the murder
                                                                         23 and Masina had said she heard someone say, “Buck, come here,” just
                                                                         24 before the car chase began; (3) Pauline’s story that Masina forced
                                                                         25 her to lie did not add up because shortly after the murder Pauline
                                                                         26 moved to Hawaii and Masina moved to Samoa and it was not reasonable
                                                                         27 to believe Masina could have exerted influence from thousands of
                                                                         28                                   89
                                                                         1 miles away; (4) Pauline’s denial that she was in a stolen car before
                                                                         2 the murder did not mar her credibility because she may have been
                                                                         3 afraid this would get her into trouble; and (5) she may have
                                                                         4 recanted her original story because she was afraid of retaliation.
                                                                         5      As Plaintiffs point out, some of the reasons the Inspectors
                                                                         6 give for believing Masina and Pauline are questionable.     For
                                                                         7 instance, as the Court noted in the October 26, 2003 Habeas Order,
                                                                         8 the Inspectors’ theory that neighborhood witnesses corroborated
                                                                         9 Masina’s story is weak given that some neighborhood witnesses
                                                                         10 contradicted aspects of her statement and that Masina’s and
                                                                         11 Pauline’s stories were inconsistent with each other.    See Purcell
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                                                                         12 Dec., Ex. 52, August 26, 2003 Habeas Order at 72, 77-79.
                                                                         13 Nonetheless, even if Pauline and Masina were lying, that is not
                                                                         14 sufficient evidence that Plaintiffs were innocent to compel a
                                                                         15 conclusion that the Inspectors continued their investigation of
                                                                         16 Plaintiffs when they knew or should have known them to be innocent.
                                                                         17     Plaintiffs have cited no case in which a claim like this one
                                                                         18 prevailed.   Although Devereaux, 263 F.3d at 1074-75, held that there
                                                                         19 is a clearly established constitutional due process right not to be
                                                                         20 criminally charged on the basis of false evidence deliberately
                                                                         21 fabricated by the government, it found that the defendants had not
                                                                         22 violated such a right.   Id at 1077, 1079.    The plaintiff in
                                                                         23 Devereaux had based his constitutional claim on the first Devereaux
                                                                         24 prong: coercive interview techniques.    The Court has found only
                                                                         25 three cases addressing the second Devereaux prong of continued
                                                                         26 investigation, and all those cases have held the defendant did not
                                                                         27 commit a constitutional violation.     See Cunningham, 345 F.3d at 811-
                                                                         28                                   90
                                                                         1 12 (continued investigation not unconstitutional); Milstein, 208 F.
                                                                         2 Supp. 2d at 1123-24 (defendants entitled to qualified immunity due
                                                                         3 to insufficient evidence to support claim that they knew or should
                                                                         4 have known plaintiff was innocent); Guerrero v. City and County of
                                                                         5 San Francisco, 2003 WL 22749099, *10 (N.D. Cal 2003) (no reasonable
                                                                         6 juror could find that defendant knew or should have known that
                                                                         7 plaintiff was innocent).
                                                                         8      Although the information the Inspectors uncovered in their
                                                                         9 investigation was contradictory and somewhat inconsistent, no
                                                                         10 evidence supports Plaintiffs’ claim that the Inspectors knew or
                                                                         11 reasonably should have known that Plaintiffs were innocent.      In
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                                                                         12 Milstein, 208 F. Supp. 2d at 1123, the plaintiff had been indicted
                                                                         13 by a Grand Jury and later held to answer after a preliminary
                                                                         14 hearing.   The court relied on these facts for its conclusion that
                                                                         15 there was evidence to support the defendants’ belief that the
                                                                         16 plaintiff was guilty of the crimes charged.   Id.   Here, too,
                                                                         17 Plaintiffs were held to answer after preliminary hearings on the
                                                                         18 crimes charged.   Significantly, at Goff’s preliminary hearing, the
                                                                         19 court found probable cause even though Pauline testified to her
                                                                         20 recantation.   Furthermore, although this Court granted Tennison’s
                                                                         21 habeas petition, it did so based on Brady violations; the Court did
                                                                         22 not address the issue of Tennison’s guilt or innocence.
                                                                         23     The Court concludes that the Inspectors did not violate
                                                                         24 Plaintiffs’ constitutional right to be free from being charged with
                                                                         25 fabricated evidence by continuing their investigation of Plaintiffs.
                                                                         26 Furthermore, even if the Inspectors’ conduct constituted a
                                                                         27 violation, a reasonable officer in their position would not have
                                                                         28                                   91
                                                                         1 known that they were violating Plaintiffs’ constitutional rights.
                                                                         2 Therefore, the Inspectors’ motion for summary adjudication based on
                                                                         3 their continuing investigation of Plaintiffs is GRANTED.
                                                                         4      F. Punitive Damages
                                                                         5      The Inspectors move for summary adjudication of Plaintiffs’
                                                                         6 demand for punitive damages.
                                                                         7      Punitive damages may be awarded in a § 1983 suit "when the
                                                                         8 defendant's conduct is shown to be motivated by evil motive or
                                                                         9 intent, or when it involves reckless or callous indifference to the
                                                                         10 federally protected rights of others."   Smith v. Wade, 461 U.S. 30,
                                                                         11 56 (1983).    In Dang v. Cross, 422 F.3d 800, 807-08 (9th Cir. 2005),
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                                                                         12 the Ninth Circuit held that punitive damages may be awarded in
                                                                         13 federal civil rights cases when the defendant’s conduct is
                                                                         14 oppressive or malicious or in reckless disregard of the plaintiff’s
                                                                         15 rights.   Malicious conduct is accompanied by ill will or spite or is
                                                                         16 done for the purpose of injuring the plaintiff.    Id. at 809 (citing
                                                                         17 Ninth Circuit Model Civil Jury Instruction 7.5).    Reckless conduct
                                                                         18 in conscious disregard of the plaintiff’s rights reflects complete
                                                                         19 indifference to the plaintiff’s safety or rights or is done in the
                                                                         20 face of a perceived risk that the conduct will violate the
                                                                         21 plaintiff’s rights under federal law.    Id.   (citing same jury
                                                                         22 instruction).   Conduct is oppressive if it injures or damages the
                                                                         23 plaintiff or violates the plaintiff’s rights with unnecessary
                                                                         24 harshness or severity as by misuse or abuse of authority or power or
                                                                         25 by taking advantage of the plaintiff’s weakness, disability or
                                                                         26 misfortune.   Id. at 809-10.   Although the standard for compensatory
                                                                         27 and punitive damages is overlapping, the distinction is that
                                                                         28                                    92
                                                                         1 compensatory damages are mandatory once a violation is found, but
                                                                         2 the award of punitive damages requires a discretionary moral
                                                                         3 judgment that the conduct merited the particular punitive award
                                                                         4 imposed in addition to the compensatory award.     Larez v. City of Los
                                                                         5 Angeles, 946 F.2d 630, 648-49 (9th Cir. 1991) (citing Smith, 461
                                                                         6 U.S. at 52).
                                                                         7      Relying on the same arguments discussed above, the Inspectors
                                                                         8 contend that there is no evidence that they acted recklessly or
                                                                         9 maliciously in regard to Plaintiffs’ right to a fair trial.
                                                                         10     Because the award of punitive damages turns on the intent of
                                                                         11 the Inspectors, it, like other questions where motive is at issue,
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                                                                         12 cannot be resolved on summary judgment.     If the jury were to find
                                                                         13 for Plaintiffs on the disputed facts and draw inferences in
                                                                         14 Plaintiffs’ favor, such findings could support an award of punitive
                                                                         15 damages.   Plaintiffs have raised a disputed issue of fact regarding
                                                                         16 whether the Inspectors acted oppressively, recklessly or with
                                                                         17 callous disregard for Plaintiffs’ constitutional rights.    Therefore,
                                                                         18 the Inspectors’ motion for summary adjudication on the request for
                                                                         19 punitive damages is DENIED.
                                                                         20                                CONCLUSION
                                                                         21     Based on the foregoing, Plaintiffs’ motion to strike (Docket
                                                                         22 # 298) is GRANTED in part, Butterworth’s motion for summary judgment
                                                                         23 (Docket # 201) is GRANTED in part, the Inspectors’ motion for
                                                                         24 summary judgment (Docket # 215) is GRANTED in part, and Plaintiffs’
                                                                         25 motions for partial summary adjudication (Docket ## 152, 155) are
                                                                         26 DENIED.    The Inspectors’ request to file a separate statement of
                                                                         27 disputed and undisputed facts is DENIED (Docket # 215).    The only
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                                                                         1 remaining claim against Butterworth is Goff’s Brady claim for
                                                                         2 suppression of the Ricard confession.   The claims remaining
                                                                         3 against the Inspectors are Plaintiffs’ Brady claims based on the
                                                                         4 suppression of Ricard’s confession, Smith’s statements, the SWP memo
                                                                         5 and Hendrix’ April 23, 1990 phone call with Masina.
                                                                         6
                                                                         7 IT IS SO ORDERED.
                                                                         8
                                                                                    2/2/06
                                                                         9 Dated
                                                                         10                                        CLAUDIA WILKEN
                                                                                                                   United States District Judge
                                                                         11
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